Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 1 of 53




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Antitrust Actions

                                               ORDER

            THIS CAUSE came before the Court on Defendants’ 1 Motion to Dismiss the Amended

   Antitrust Tranche Complaint [ECF No. 456], filed on February 18, 2022. Plaintiffs 2 filed a

   Response [ECF No. 459], to which Defendants filed a Reply [ECF No. 463]. The Court has

   carefully considered the Amended Consolidated Class Action Complaint (the “Am. Compl.”)

   [ECF No. 451], the parties’ written submissions, the record, and applicable law. For the following

   reasons, the Motion is granted.

                                      I.     INTRODUCTION

            The Amended Complaint is Plaintiffs’ third attempt at pleading an antitrust conspiracy

   claim arising from the January 2021 short squeeze. The Court dismissed Plaintiffs’ Corrected

   Consolidated Class Action Complaint (the “CCAC”) last fall, giving Plaintiffs the opportunity to

   amend. (See generally Nov. 17, 2021 Order [ECF No. 438]). They did so. What has changed

   with the latest pleading? Not much.




   1
    The Defendants are Robinhood Markets, Inc.; Robinhood Financial LLC; Robinhood Securities, LLC;
   and Citadel Securities LLC. (See Am. Compl. ¶¶ 42–49).
   2
    The Plaintiffs are Angel Guzman, Burke Minahan, Christopher Miller, and Terell Sterling. (See Am.
   Compl. ¶¶ 23–41).
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 2 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


          The CCAC described a wide-ranging conspiracy purportedly orchestrated by a market

   maker and involving over a dozen Defendants, including introducing brokerages, self-clearing

   brokerages, and clearinghouses. Plaintiffs alleged the market maker, Citadel Securities, pressured

   the other Defendants to halt trading in certain stocks that had undergone rapid and historic price

   increases due to a retail trading frenzy. According to Plaintiffs, Citadel Securities held significant

   short positions in the affected stocks, rendering it especially vulnerable to the retail-induced short

   squeeze.

              Plaintiffs adequately pleaded parallel conduct among the Defendants. But there were no

   additional factual allegations supporting a plausible inference of a conspiracy — except for

   references to a few vague and ambiguous emails that were exchanged between a brokerage,

   Robinhood, 3 and its market maker, Citadel Securities. The Court dismissed the CCAC in its

   entirety because a few questionable emails between two firms in an otherwise lawful business

   relationship were not enough to support a plausible inference of an unlawful conspiracy.

          This third time around, Plaintiffs only allege collusion between Robinhood and Citadel

   Securities; they have dropped every other Defendant from the suit. While Plaintiffs profess to

   have bolstered their factual allegations as to Robinhood and Citadel Securities, the allegations of

   conspiracy are in substance the same and thus inadequate. In addition, Plaintiffs fail to plausibly

   allege an unreasonable restraint of trade because their garbled market theory does not conform to

   the alleged facts. The Court explains.




   3
    The Court refers to Robinhood Markets, Inc.; Robinhood Financial LLC; and Robinhood Securities, LLC,
   collectively, as “Robinhood[.]” Robinhood Financial LLC and Robinhood Securities, LLC are wholly-
   owned subsidiaries of Robinhood Markets, Inc. (See Am. Compl. ¶¶ 42–45).
                                                     2
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 3 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


                                          II.     BACKGROUND

           This putative class action is brought on behalf of individual investors (the “Retail

   Investors”) who suffered losses as a result of Defendants’ response to a “short squeeze” — a

   situation in which stocks or other assets rise sharply in value, distressing short positions. 4 (See

   Am. Compl. ¶¶ 12, 15–16). This short squeeze occurred in late January 2021, as the Retail

   Investors purchased the Relevant Securities en masse over a short period of time, 5 exposing those

   with short positions in the Relevant Securities — such as Citadel Securities — to large potential

   losses. (See id. ¶¶ 7, 11–12, 64–66). According to Plaintiffs, Citadel Securities pressured

   Robinhood to restrict trading on its platform, which “artificially constricted the price appreciation

   of the Relevant Securities[,]” in violation of the Sherman Act, 15 U.S.C. § 1. (Am. Compl. ¶ 16

   (alteration added); see id. ¶¶ 13, 67, 403–415).

           Parties.

           Defendants. Robinhood Markets is the corporate parent of Robinhood Financial and

   Robinhood Securities. (See id. ¶ 42). Robinhood Financial is an introducing broker: it provides

   financial services through an electronic trading platform, or application, where individual investors

   can trade financial assets. (See id. ¶ 43). Robinhood Securities is a clearing broker: it handles the

   execution, clearing, and settling of trades placed on Robinhood Financial’s application. (See id.

   ¶¶ 44, 83).    Collectively, Robinhood restricted the Retail Investors’ ability to purchase the


   4
    A “short” seller borrows a security from a lender, believing the price of the security will decrease. (See
   Am. Compl. ¶ 108). It then sells the borrowed security to a buyer. (See id.). If the price of the security
   drops, the short seller buys the security back at a lower price and returns it to the lender. (See id.). The
   difference between the sell price and the buy price is the short seller’s profit. (See id.). Conversely, the
   short seller loses money if the price of the security increases. (See id.).
   5
     The “Relevant Securities” are certain stocks the Retail Investors believed would increase in price:
   GameStop (GME), AMC Entertainment (AMC), Bed Bath & Beyond (BBBY), BlackBerry (BB), Express
   (EXPR), Koss (KOSS), Nokia (NOK), Tootsie Roll Industries (TR), and Trivago NV (TRVG). (See Am.
   Compl. ¶ 7).
                                                        3
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 4 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


   Relevant Securities between January 28, 2021, and February 4, 2021 (the “Class Period”). (See

   id. ¶¶ 46, 55).

           Citadel Securities is a market maker: it acts as a market participant by providing bid and

   ask prices for securities, maintaining an inventory of securities from its own trading, and matching

   incoming buy and sell orders to fill those orders. (See id. ¶¶ 48, 85). Citadel Securities took short

   positions in the Relevant Securities during the period in question. (See id. ¶ 49).

           Plaintiffs. The named Plaintiffs are four individual investors who were subject to trading

   limitations imposed on the Relevant Securities during the Class Period. (See id. ¶¶ 23–41). Each

   Plaintiff held shares of one or more of the Relevant Securities at the close of the stock market on

   January 27, 2021. (See id. ¶¶ 23, 28, 33, 38). The next day, January 28, 2021, they were all

   prohibited from purchasing the Relevant Securities on Robinhood’s trading platform. (See id.

   ¶¶ 24, 29, 34, 39).

           That same day, Guzman and Miller applied for accounts with Charles Schwab, Fidelity,

   and TD Ameritrade — these did not prohibit customers from purchasing the Relevant

   Securities — but Guzman and Miller were unable to complete purchases due to the amount of time

   required to set up the accounts. (See id. ¶¶ 25, 35). Minahan successfully applied for an account

   with Fidelity and was able to purchase a share of GameStop stock that day. (See id. ¶ 30). Each

   Plaintiff then sold his or her shares of the Relevant Securities on Robinhood between January 28,

   2021, and February 4, 2021. (See id. ¶¶ 26–27, 31–32, 36–37, 40–41).

           Injury and proposed class. According to Plaintiffs:

           As a direct and intended result of Defendants [sic] contract, combination,
           agreement and restraint of trade or conspiracy, Defendants caused injury to
           Plaintiffs by restricting purchases of Relevant Securities. Robinhood deactivated
           the buy option on its platform and left Plaintiffs and Class members with no option
           but to sell or hold shares of the stocks on their platforms. Plaintiffs and Class
           members, faced with an imminent decrease in the price of their positions in the

                                                    4
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 5 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


           Relevant Securities due to the inability of Retail Investors to purchase shares, were
           induced to sell their shares in the Relevant Securities at a lower price than they
           otherwise would have, but for the conspiracy, combination, agreement and restraint
           of trade. Additionally, Class members that would have purchased more stock in
           the Relevant Securities given the upward trend in price could not do so.

   (Id. ¶ 410 (alterations added)).

           Plaintiffs seek to certify the following class:

           All persons or entities in the United States that held shares of stock or call options
           through Robinhood in GameStop Corp. (GME), AMC Entertainment Holdings Inc.
           (AMC), Bed Bath & Beyond Inc. (BBBY), BlackBerry Ltd. (BB), Express, Inc.
           (EXPR), Koss Corporation (KOSS), Nokia Corp. (NOK), Tootsie Roll Industries,
           Inc. (TR), or Trivago N.V. (TRVG) as of the close of market on January 27, 2021,
           and sold the above-listed securities from January 28, 2021 up to and including
           February 4, 2021 (the “Class Period”).

   (Id. ¶ 55).

           Alleged facts.

           Mechanics of securities trading on Robinhood. Individual investors’ market share of U.S.

   equity trading has steadily increased since 2019 and has recently accounted for a third of all U.S.

   stock market trading. (See id. ¶¶ 92–93). When individual investors make investments on their

   own behalf, they execute their personal trades through websites, apps, and trading platforms

   provided by brokerage firms or other investment service providers. (See id. ¶ 6).

           Robinhood Financial provides one such trading application to individual investors. (See

   id. ¶¶ 6, 43, 68). Robinhood Financial is one of the largest retail brokers in the United States —

   the trading demand of its over 31 million users substantially influences the movements of stock

   prices. (See id. ¶¶ 70–72).

           Once a trade is placed on Robinhood Financial’s application, the customer’s cash and

   securities are custodied by Robinhood Financial’s clearing broker, Robinhood Securities. (See id.

   ¶ 83). Robinhood Securities services the customer’s account by executing, clearing, and settling

   the trade order. (See id.).

                                                      5
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 6 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


          Although individual investors historically had to pay a fee or commission to their

   brokerages for executing personal trades, today most brokerages do not charge their investors a

   fee per transaction. (See id. ¶ 8). Rather, in exchange for routing the order to a market maker,

   brokerages earn revenue through rebates, kickbacks, and other payments — known collectively as

   payment for order flow (“PFOF”). (See id. ¶¶ 8, 73).

          Robinhood Securities typically routes a customer’s trade order to a large market maker like

   Citadel Securities. (See id. ¶¶ 74, 84). As a market maker, Citadel Securities fills these orders

   from its own inventory, by routing the order to an exchange, or by taking the other side of a

   transaction (e.g., selling a security short in response to receiving an order to buy the security). (See

   id. ¶¶ 85–86). Once an order is filled, the market makers pocket the difference between the bid

   and ask prices; this is known as the “spread.” (Id. ¶¶ 74, 85). While the spreads may be small,

   they are significant in the aggregate due to the large volume of orders filled. (See id.).

           After an order is filled, the details of the executed order are sent to the National Securities

   Clearing Corporation (“NSCC”) for clearinghouse and settling services. (See id. ¶ 87). Because

   trades do not settle immediately, there is a risk that a party to a transaction may default before the

   trade is completed. (See id. ¶¶ 87–88). The NSCC clears cash transactions by netting securities

   deliveries and payments among NSCC’s clearing members and guaranteeing the completion of

   trades, even if one party to the transaction defaults. (See id. ¶ 88). Thus, if a clearing member

   such as Robinhood defaults on its settlement obligations, the NSCC guarantees the delivery of

   cash and securities to its non-defaulting members. (See id.).

          The NSCC collects clearing fund contributions, or margin, from clearing members at the

   start of each day and intraday in volatile markets. (See id. ¶ 90). The margin protects the NSCC

   and all market participants against clearing member defaults, and margin requirements must be



                                                      6
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 7 of 53

                                                    CASE NO. 21-2989-MDL-ALTONAGA/Torres


   met by clearing members on a timely basis. (See id.). Margin requirements are largely based on

   risk and market volatility. (See id.). The rules for calculating the contribution requirements and

   the timing of the collection of contributions are known to every clearing member; and the NSCC

   provides reporting tools, calculators, and documentation to allow the members to monitor their

   risk in near real-time and estimate clearing fund contribution requirements. (See id.).

          January 2021 market volatility. Retail Investors often exchange investment information

   via online discussion forums like Facebook, TikTok, and, most relevant here, the WallStreetBets

   financial discussion forum on Reddit. (See id. ¶¶ 64, 95, 127–28). WallStreetBets is characterized

   by a particular culture centered around the discussion of financial investments and memes; many

   of its users are sophisticated and shrewd individual investors. (See id. ¶ 128).

          Beginning in 2019, the Retail Investors, through these online discussion forums,

   hypothesized that shares of GameStop’s stock were significantly undervalued, trading at much

   lower prices than they should have been, based on GameStop’s publicly available financial

   disclosures and prospects. (See id. ¶¶ 95–96). The Retail Investors saw similar investment

   opportunities in the other Relevant Securities. (See id. ¶¶ 97–98).

          One such Retail Investor, the popular Reddit and YouTube user, Roaring Kitty, deduced

   that GameStop was undervalued for a variety of reasons, including substantial short positions that

   large financial institutions had taken against the stock. (See id. ¶¶ 96, 127). Roaring Kitty

   continuously published his investments on WallStreetBets, such as his initial purchase of $50,000

   of GameStop; he also posted an in-depth analysis of GameStop’s stock on his YouTube channel

   in August 2020. (See id. ¶¶ 127, 129).

          Leading up to January 27, 2021, the Retail Investors purchased long positions in the

   Relevant Securities — primarily through Robinhood — with the expectation that the stocks would



                                                    7
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 8 of 53

                                                         CASE NO. 21-2989-MDL-ALTONAGA/Torres


   increase in value. (See id. ¶¶ 7, 64, 101). As more investors purchased the Relevant Securities

   and “out of the money” call options 6 in the Relevant Securities, the market prices for the stocks

   rose due to supply and demand. (Id. ¶¶ 99, 114). The Relevant Securities started appreciating to

   “unprecedented levels.” (Id. ¶ 15).

             To illustrate this rapid growth, a share of GameStop stock traded for as low as $2.00 a share

   in 2019 (see id. ¶ 130); $43.03 on January 21, 2021 (see id. ¶ 132); $76.79 on January 25, 2021

   (see id.); $147.98 on January 26, 2021 (see id. ¶ 135); and $380.00 on January 27, 2021 (see id.

   ¶ 137). GameStop’s stock price reached a closing high of $347.51 on January 27, 2021 — a

   134.84% increase from the previous day. (See id.). Other Relevant Securities experienced similar

   surges; for example, AMC’s and Express’s share prices increased over 300% and 200%,

   respectively. (See id.).

             As Retail Investors increased long positions in the Relevant Securities, those who held

   short positions in the Relevant Securities, such as Citadel Securities (see id. ¶¶ 11, 141–42), were

   caught in a short squeeze. (See id. ¶¶ 114–15). Investors with these short positions faced a rapid

   increase in the shorted assets’ values, exposing short sellers to even greater losses because the

   short sellers must at some point buy back the stocks to return them to their lenders. (See id. ¶¶ 12,

   115). 7


   6
     A call option gives the holder the right to buy the asset at a stated fixed price or the “strike price.” (Am.
   Compl. ¶ 114). An “in the money” option has a favorable strike price because it is lower than the market
   price of a stock (id. ¶ 119), while an “out of the money” option has an unfavorable strike price because it is
   higher than market price for the underlying asset (id. ¶ 120). If an option expires while out of the money,
   the contract becomes valueless. (See id. ¶¶ 119–120, 140, 294).
   7
     Another phenomenon known as a “Gamma squeeze” occurred as the prices of the Relevant Securities
   increased. (Am. Compl. ¶¶ 114, 116). Options are priced based on a variety of risk variables, including
   one called “Gamma,” which increases as the option nears its expiration date or as the option approaches its
   strike price (i.e., “being in the money”). (Id. ¶¶ 121, 123–26). When a security experiences a sharp price
   increase, the Gamma increases; stated differently, options that were previously unlikely to reach their strike
   prices before expiration become more likely to do so. (See id. ¶¶ 124–26). As the Gamma increases, market
   makers hedge by purchasing more of the underlying security, which further drives the price of the security
                                                         8
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 9 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


           Around 5:00 p.m. on January 27, 2021, the SEC released a statement indicating it was

   “aware of and actively monitoring the on-going market volatility in the options and equities

   markets[.]” (Id. ¶ 144 (alteration added; quotation marks omitted)). It declined to step in and

   restrict trading, however. (See id.).

           Events of January 28, 2021. Right before markets opened on January 28, 2021, analytics

   captured a significant volume of GameStop short transactions. (See id. ¶ 156). Retail brokers

   generally do not allow individual investors to engage in after-hours trading to the same extent as

   institutional investors, so this increase in short volume was likely the result of institutional

   investors, like Citadel Securities, taking new short positions. (See id. ¶ 157). Additionally, failure

   to delivers (“FTDs”), which occur when one of two transacting parties fails to meet its obligations

   in a securities trade, rose dramatically in the period leading up to January 28, 2021, a phenomenon

   consistent with increasing short interest by market makers like Citadel Securities. 8 (See id. ¶¶ 161,

   165).

           This increase in short positions baffled some observers. (See id. ¶ 175). The dominant

   view in many financial discussion forums reflected a high degree of excitement and motivation

   among Retail Investors. (See id.). Many announced plans to increase long positions in the

   Relevant Securities on January 28, 2021. (See id.).

           Around 1:00 a.m. EST on January 28, 2021, Robinhood informed its users that in the face

   of unprecedented volatility surrounding GameStop and AMC stock, all GameStop and AMC

   options with expirations of January 29, 2021 would be set to closing transactions only. (See id.


   higher and creates a feedback loop as even deeper out of the money options approach their strike price.
   (See id. ¶ 126).
   8
    FTDs can be strong indicators of naked short selling, which occurs when a short seller does not actually
   possess the security it is supposed to borrow, or of market makers taking on more short positions. (See Am.
   Compl. ¶¶ 162–63).
                                                       9
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 10 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    ¶ 176). Apparently, the restrictions would help Robinhood reduce risk. (See id.). For the

    immediate future, customers could close out their positions in GameStop and AMC but could not

    make new investments. (See id.).

           At 5:11 a.m. EST, Robinhood received an email from the NSCC titled “NSCC Daily

    Margin Statement” advising Robinhood had a collateral requirement deficit of over $3 billion. (Id.

    ¶ 178). At 8:00 a.m. EST, Gretchen Howard, Robinhood’s COO, messaged internally that

    Robinhood had a “major liquidity issue” and was moving the Relevant Securities to Position Close

    Only (“PCO”), meaning Robinhood users could sell the Relevant Securities but could not buy

    them. (Id. ¶¶ 179–80 (quotation marks omitted)). Around that same time, David Dusseault,

    Robinhood Financial’s President and COO, said in another internal message, “we will navigate

    through this [NSCC] issue[,]” and “we are to [sic] big for them to actually shut us down[.]” (Id.

    ¶ 182 (alterations added)). Robinhood negotiated with the NSCC to significantly reduce its margin

    requirements and was subsequently able to meet its revised NSCC deposit requirement shortly

    after 9:00 a.m. EST. (See id. ¶¶ 183–185).

           Robinhood moved the Relevant Securities to PCO by the time the markets opened on

    January 28, 2021. (See id. ¶¶ 179–180). To their surprise, Robinhood users were no longer able

    to purchase the Relevant Securities — the “buy” button was deactivated as a feature, leaving users

    with no option but to sell or hold their securities. (See id. ¶¶ 186–88). Further, Robinhood blocked

    users on its web platform and mobile app from searching for the Relevant Securities’ ticker

    symbols. (See id. ¶ 190). Robinhood also canceled overnight purchase orders of the Relevant

    Securities placed on January 27, 2021, which were queued to move forward when the markets

    opened on January 28, 2021. (See id. ¶ 188).




                                                    10
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 11 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


           Customers were not given advance notice of the switch to PCO for the Relevant Securities.

    (See id. ¶ 185). Robinhood announced the news via Twitter on January 28, 2021, stating it was

    restricting the Relevant Securities to PCO due to market volatility. (See id. ¶¶ 192–94).

           Other brokerages also restricted trading, adjusted margin requirements, or restricted trading

    strategies. 9 (See id. ¶¶ 195, 365–67). On January 28, 2021, Ally, Dough, Public.com, SoFi, Stash,

    Tastyworks, and WeBull restricted purchases of two or three of the Relevant Securities; 10 E*Trade

    restricted purchases of GameStop and AMC; and Interactive Brokers restricted trading on options.

    (See id.). Charles Schwab and TD Ameritrade did not halt trading but instead adjusted margin

    requirements for certain securities and restricted certain strategies usually employed by advanced

    traders. (See id. ¶ 365).

           The broad prohibition on buying the Relevant Securities spawned a massive sell-off, which

    sent prices of the Relevant Securities tumbling. (See id. ¶ 197). For example, on January 28, 2021,

    GameStop shares reached an intraday peak of $483.00 before dropping down to a closing price of

    $193.60 — a staggering 44.29% drop from the prior day’s closing price of $347.51. (See id.

    ¶ 198). Similarly, AMC shares dropped 56.63%, EXPR shares fell 50.79%, and BBBY shares

    declined 36.40%. (See id.). The Retail Investors who wanted to take advantage of the price drops

    to buy more shares of the Relevant Securities were unable to do so due to the prohibition on

    purchasing. (See id.).

           While individual investors were prohibited from purchasing the Relevant Securities,

    institutional investors were not. (See id. ¶ 209). Large investment firms and market makers such



    9
      Internal Robinhood documents show Robinhood actively monitored the actions of other broker-dealers.
    (See Am. Compl. ¶ 196).
    10
      Many of these brokerages reported that their clearing firm, Apex, was responsible for implementing the
    restrictions. (See Am. Compl. ¶ 195). Apex only imposed restrictions on January 28, 2021. (See id.).
                                                      11
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 12 of 53

                                                         CASE NO. 21-2989-MDL-ALTONAGA/Torres


    as Citadel Securities were able to purchase the Relevant Securities at artificially reduced prices

    because they had access to private stock exchanges known as “dark pools.” 11 (Id.). As the Retail

    Investors sold their shares in the Relevant Securities because of the trading restrictions, firms like

    Citadel Securities bought the Relevant Securities at artificially reduced prices to close out their

    short positions. (See id. ¶¶ 209–10).

            Events after January 28, 2021. When the market opened on January 29, 2021, Robinhood

    lifted its trading restrictions and permitted individual investors to open new long positions in the

    Relevant Securities; even so, Robinhood continued to heavily restrict such purchases. (See id.

    ¶¶ 249–51). For example, Robinhood placed limitations on the number of new positions its users

    could open in the Relevant Securities, restricting purchases of GameStop stock to two shares and

    then to one share. (See id. ¶¶ 253–55). It maintained trading limitations on certain securities

    through February 4, 2021 (see id. ¶ 261); further suppressing the value of the Relevant Securities

    and pressuring investors to sell, rather than buy or hold (see id. ¶¶ 251, 255–56).

            On January 31, 2021, Vlad Tenev, Robinhood’s CEO, explained in an opinion piece

    published in USA TODAY that Robinhood maintained trading restrictions because clearinghouse-

    mandated deposit requirements were “increased ten-fold.” (Id. ¶ 262 (quotation marks omitted)).

    Two days earlier, Robinhood had announced that it raised more than $1 billion to help meet rising

    demands for cash and shore up its balance sheet. (See id. ¶ 261). Robinhood raised this money

    on top of $500 million it accessed through credit lines to ensure it had sufficient capital to allow

    its clients to trade the Relevant Securities. (See id.). On February 1, 2021, Robinhood announced



    11
      Private stock exchanges are known colloquially as “dark pools” or “dark exchanges” because they do not
    disseminate public quotations of securities prices. (Am. Compl. ¶¶ 104–07). Through these private
    exchanges, institutional investors can discreetly buy or sell securities in large blocks, mitigating some of
    the price impacts that their buying or selling activity would otherwise have on a “lit,” or public, national
    securities exchange. (Id. ¶ 106).
                                                        12
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 13 of 53

                                                         CASE NO. 21-2989-MDL-ALTONAGA/Torres


    it had raised an additional $2.4 billion in funding above the $1 billion it had already raised. (See

    id.). Weeks later, Tenev testified before the U.S. House Committee on Financial Services that

    Robinhood had met its revised deposit requirements a little after 9:00 a.m. on January 28, 2021.

    (See id. ¶ 264).

            Publicly available data reveal short interests 12 in the Relevant Securities climbed steadily

    in the weeks leading up to January 28, 2021 (see id. ¶¶ 269–70, 284); and then decreased because

    of the trading restrictions imposed during the Class Period, with the sharpest and most significant

    decreases occurring after the restrictions imposed on January 28, 2021 (see id. ¶¶ 265, 269–72).

    FINRA data show significant increases in dark pool trading activity for each of the Relevant

    Securities on and around January 28, 2021, during the period when restrictions were first placed

    on the Relevant Securities. (See id. ¶¶ 273–79). Institutions dominate trading in dark pools and

    dark exchanges, which are generally beyond the reach of individual investors, so this activity

    indicates high institutional investor trading activity consistent with the exiting of short positions.

    (See id. ¶ 280).

            The scale of Citadel Securities’s business also indicates that the bulk of the activity

    captured by this FINRA data can be attributed to Citadel Securities. (See id. ¶¶ 281–84). Because

    Citadel Securities accounts for about 50% of dark trading activity, a large shift in the percentage

    of sales represented by short trades is likely to be caused by a shift in Citadel Securities’s position

    from long to short or vice versa. (See id. ¶ 283).

            Collusion between Defendants. Plaintiffs allege that Robinhood and Citadel Securities

    colluded to limit buy-side trading in the Relevant Securities so that Citadel Securities could recoup




    12
      “Short interests” are defined as the number of shares of a security that have been sold short but have not
    yet been covered or closed out. (Am. Compl. ¶ 268).
                                                        13
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 14 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    losses in its short positions caused by the rise of the Relevant Securities’ prices. (See id. ¶ 154

    (alterations added)).

           Motive to collude. According to Plaintiffs, “Robinhood and Citadel Securities shared a

    common motive to conspire — to protect their individual self-interest over the welfare of

    Robinhood’s users. Robinhood restricted competition on its platform to protect itself and Citadel

    from hemorrhaging losses totaling potentially billions of dollars.” (Id. ¶ 393). Further, “in light

    of its planned 2021 IPO, Robinhood simply could not run the risk that its ‘transaction-based

    revenue would be impacted negatively’ should Citadel Securities terminate its relationship with

    Robinhood.” (Id. ¶ 401; see also id. ¶¶ 318, 400).

           PFOF is Robinhood’s primary source of revenue. (See id. ¶¶ 5, 75, 316). Market makers

    such as Citadel Securities pay more for Robinhood’s order flow than they do for Robinhood’s

    competitors. (See id. ¶¶ 76, 402). Today, Robinhood derives somewhere between 60% to 70% of

    its revenue from selling PFOF to market makers like Citadel Securities. (See id. ¶¶ 73–75).

    Citadel Securities alone was responsible for 29% of Robinhood’s revenue in 2019, 34% in 2020,

    and 43% of Robinhood’s PFOF revenue in the first quarter of 2021. (See id. ¶¶ 5, 78, 80, 318).

    Indeed, Citadel Securities is Robinhood’s primary source of revenue. (See id. ¶ 5).

           In its Form S-1, Robinhood stated:

           For the three months ended March 31, 2021, 59% of our total revenues came from
           four market makers. If any of these market makers, or any other market makers
           with whom we do business, were unwilling to continue to receive orders from us
           or to pay us for those orders (including, for example, as a result of unusually high
           volatility), we may have little to no recourse and, if there are no other market
           makers that are willing to receive such orders from us or to pay us for such orders,
           or if we are unable to find replacement market-makers in a timely manner, our
           transaction-based revenue would be impacted negatively.




                                                    14
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 15 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    (Id. ¶ 81; see also id. ¶ 317 (“As set forth in Robinhood’s Registration Statement, Robinhood’s

    ‘PFOF . . . arrangements with market makers are not documented under binding contracts.’”

    (alteration in original)).

            Citadel Securities possessed significant short positions in the Relevant Securities during

    the period in question. (See id. ¶ 394). As the prices of the Relevant Securities increased, Citadel

    Securities was exposed to “potentially infinite” losses. (Id.). As of December 31, 2020, Citadel

    Securities reported $57.5 billion in “securities sold, not yet purchased, at fair value” — which are

    “likely representative of Citadel Securities’s short position.”        (Id. ¶ 395 (quotation marks

    omitted)).

            Plaintiffs conclude that Citadel Securities used its relationship with Robinhood to pressure

    the company into restricting trading in the Relevant Securities so it could buy the stocks at an

    artificially reduced price to close out its short positions. (See id. ¶¶ 400–02).

            According to Plaintiffs, Defendants’ public attempt to attribute the motivation for its

    trading restrictions to market volatility and the resulting NSCC margin call was pretextual. (See

    id. ¶¶ 357–69). In other words, Robinhood was not innocently responding to increased volatility;

    it was trying to keep its most important customer happy, to the detriment of the Retail Investors.

    Plaintiffs allege that restricting trading was against Robinhood’s self-interest because

    Robinhood’s profits are based on the volume of transactions on its application. (See id. ¶¶ 358–

    60). Further, Plaintiffs claim Robinhood could have either used its lines of credit instead of

    restricting trading to meet its margin requirements, or it could have imposed less restrictive

    measures like other brokerages did. (See id. ¶¶ 363–69).




                                                      15
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 16 of 53

                                                    CASE NO. 21-2989-MDL-ALTONAGA/Torres


           Communications among Defendants. In the run up to, during, and after January 28, 2021,

    high-level executives of Citadel Securities communicated with high-level executives of

    Robinhood. (See id. ¶ 226).

           On January 20, 2021, the Citadel Securities Head of Execution Services extended an

    unknown proposition to Josh Drobnyk, Robinhood’s Vice President of Corporate Relations and

    Communications, who conferred with Daniel Gallagher and Lucas Moskowitz, Robinhood’s Chief

    Legal Officer and Deputy General Counsel, respectively. (See id. ¶¶ 227–28). The Citadel

    Securities executive and Drobnyk had a relationship because Drobnyk previously worked at

    FINRA. (See id. ¶ 227). On January 25, 2021, Drobnyk replied via email that “[w]e are on board”

    and Moskowitz would be the central point of contact for Robinhood. (Id. ¶ 230 (alteration added;

    quotation marks omitted)). The Citadel Securities executive responded to Moskowitz with an offer

    to chat, emphasizing the “strong relationship between the firms[.]” (Id. ¶ 231 (alteration added;

    quotation marks omitted)). The details of the ensuing January 26, 2021 phone call have not been

    disclosed. (See id. ¶¶ 232–33).

           On January 26, 2021, during the short squeeze, Jim Swartwout, President and CEO of

    Robinhood Securities, alerted other Robinhood executives through an internal chat that Robinhood

    “was moving GameStop to 100% margin the next day, stating ‘I sold my AMC today.

    FYI — tomorrow we are moving GME to 100% — so you are aware.’” (Id. ¶ 234).

           On January 27, 2021, the day before the trading restrictions were implemented, Citadel

    Securities and Robinhood executives exchanged several communications. (See id. ¶ 235). In an

    internal conversation around 4:40 p.m., Robinhood COO Howard informed Tenev that she, along

    with Gallagher and Swartwout, would be joining “a call with Citadel” at 5:00 p.m. that day. (Id.

    ¶ 237 (quotation marks omitted); see id. ¶ 239). Howard said she believed Citadel Securities



                                                   16
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 17 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    would make demands on limiting PFOF. (See id. ¶¶ 237, 239). Tenev responded that “[m]aybe

    this would be a good time for me to chat with Ken [G]riffin[,]” the CEO of Citadel Securities, and

    told Howard, “[y]ou guys can mention that.” (Id. ¶ 239 (quotation marks omitted; alterations

    added)). Tenev noted he had not previously met Griffin. (See id.).

           Shortly thereafter, around 6:25 p.m., Swartwout messaged in an internal chat that he was

    aware of “anecdotal evidence that several ‘very large’ firms [were] having really bad nights too.”

    (Id. ¶ 240 (alteration adopted; alteration added; quotation marks omitted)). Swartwout replied,

    “everyone is. [Y]ou wouldnt [sic] believe the conv[ersation] we had with Citadel. [T]otal mess.”

    (Id. ¶ 241 (alterations added); see id. ¶ 240–41). At 8:16 p.m., Swartwout updated a Citadel

    Securities employee that he was looking for “new Citadel numbers.” (Id. ¶ 242 (quotation marks

    omitted)). The Citadel Securities employee responded that the numbers were “firming up right

    now in light of the follow up [sic] conversation between Gallagher and [redacted.]” (Id. (alteration

    adopted; alterations added; quotation marks omitted)).

           At 8:29 p.m. that evening, the Citadel Securities Vice President of Business Development

    notified Swartwout that one of Citadel Securities’s executives, whom Tenev had previously met,

    was available to speak to Tenev that night. (See id. ¶¶ 243, 245). Swartwout replied, “[b]ecause

    of our partnership, Vlad would like to have a discussion with Ken [Griffin] at some point, just

    given our relationship. Not specific to this crazy issue.” (Id. ¶ 244 (first alteration added; second

    alteration in original; quotation marks omitted); see id. ¶ 245). Swartwout emailed in the same

    chain later that night that he was “beyond disappointed in how this went down[,]” and it was

    “difficult to have a partnership when these kind[s] of things go down this way.” (Id. ¶ 245

    (alterations added; quotation marks omitted)).




                                                     17
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 18 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


              On January 30, 2021, a Citadel Securities executive emailed Drobnyk, stating he “wanted

    to generally coordinate messaging.” (Id. ¶ 258 (quotation marks omitted); see id. ¶ 260). The

    Citadel Securities executive also introduced Drobnyk to someone who was “running point on this

    narrative for [them]” and copied company lawyers “for privilege.” (Id. ¶ 258 (alteration added;

    quotation marks omitted); see id. ¶ 260).

              Market definitions. Plaintiffs define two relevant product markets “within the distribution

    of securities trading services” — the upstream market in which Citadel Securities operates and the

    downstream one in which Robinhood operates. 13 (Id. ¶ 305). Plaintiffs define these as the “PFOF

    Market” and the “No-Fee Brokerage Trading App Market[,]” respectively. (Id. ¶¶ 306, 312

    (alteration added)).

              The PFOF Market. Citadel Securities competes with other market makers in the upstream

    PFOF Market, which Plaintiffs geographically limit to the United States. (See id. ¶¶ 306, 311).

    Plaintiffs allege Citadel Securities accounts for approximately 27% of the U.S. equities volume

    and executes approximately 37% of all U.S.-listed retail volumes, making it a “relative

    behemoth[,]” with the largest market share of any wholesale market maker in the PFOF Market.

    (Id. ¶¶ 306–07 (alteration added)). The firm has garnered approximately 40% of all PFOF in the

    United States for the past two years, more than its next three competitors combined. (See id.

    ¶ 307).

              Citadel Securities paid brokers roughly $1.1 billion for their order flows in 2020, more than

    any other market maker and nearly equal to its four largest competitors combined. (See id. ¶ 308).

    From January 2021 through June 2021, Citadel Securities paid nearly $1.5 billion to brokers for

    their order flow, more than any other market maker. (See id. ¶ 309).


    13
      “Upstream” here refers to an earlier stage in the production or distribution chain, while “downstream”
    refers to a later stage. (Am. Compl. ¶ 305).
                                                       18
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 19 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


              No-Fee Brokerage Trading App Market. Robinhood competes with other brokerages in

    the downstream or consumer-facing No-Fee Brokerage Trading App Market, which is also

    geographically limited to the United States. (See id. ¶¶ 312–13, 315). Brokerages in this market

    offer no-fee transactions on their trading applications because they receive PFOF from market

    makers in the upstream market. (See id. ¶¶ 312–13).

              Based on monthly active users, Robinhood is far and away the most popular electronic

    trading application in the world and is responsible for a significant number of daily trades. (See

    id. ¶¶ 326, 333). In January 2021, Robinhood had nearly three-times as many users as then second-

    place brokerage Fidelity Investments (see id. ¶ 334); in July 2021, Robinhood had nearly three-

    times as many users as then second-place brokerage WeBull (see id. ¶ 336).

              Structure and characteristics of the markets. According to Plaintiffs, the “structure and

    characteristics of the market for securities, and in particular the lack of disclosure of short interest

    positions at any given time, make it conducive to collusion and anticompetitive conduct.” (Id.

    ¶ 370).

              High barriers to entry. An entrant to the No-Fee Brokerage Trading App Market would

    need specialized knowledge, licenses, and memberships, including memberships in organizations

    such as FINRA. (See id. ¶ 373). The cost of compliance with applicable industry and regulatory

    standards is substantial. (See id.). Entrants would need significant cash on hand to deposit at

    clearinghouses such as the DTCC as collateral. (See id. ¶ 374). And entrants would need to have

    the necessary technological infrastructure and expertise to navigate the digital market. (See id.

    ¶¶ 375–76). An entrant to the PFOF Market would also need extensive infrastructure and

    significant mathematical expertise to design the sophisticated algorithms that are necessary to

    compete in the high-frequency trading market. (See id. ¶¶ 377–78).



                                                      19
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 20 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


              High fixed costs and low variable costs. Both relevant markets are defined by high fixed

    costs and low variable costs, and participants in these markets benefit greatly from scale. (See id.

    ¶ 379). Online broker-dealers participating in the No-Fee Brokerage Trading App Market require

    significant IT infrastructure, software, and data security infrastructure to develop and maintain the

    applications through which investors trade. (See id. ¶ 380). Market makers participating in the

    PFOF Market require similar infrastructures and software to facilitate the digital clearing and

    custodial services they provide to online broker-dealers. (See id. ¶ 381). Market makers — high

    frequency trading market makers, in particular — must invest significant effort and resources to

    increase the speed of trading technology to maximize their profits. (See id. ¶¶ 382–83).

              Captive market. In the short run, retail investors in the securities market are locked into

    the broker-dealers they already invest with. (See id. ¶¶ 158, 387). The process to open a trading

    account with a broker-dealer may take several days. (See id. ¶ 388). If a broker-dealer like

    Robinhood imposes short-term trading restrictions, retail investors may not have the opportunity

    to switch or change broker-dealers before the restrictions are lifted. (See id. ¶ 392).

              If Robinhood users wish to transfer or withdraw funds from their Robinhood accounts to

    their personal bank accounts, they will not have access to their funds for three-to-five days after

    initiating a request. (See id. ¶¶ 159, 389). During the week of January 25, 2021, Robinhood users

    experienced additional delays or errors when attempting to transfer or withdraw funds or close

    accounts. (See id. ¶¶ 160, 391). Robinhood also charges users a $75 fee to transfer their assets to

    another brokerage, thereby compounding the difficulties associated with switching. (See id.

    ¶ 389).

              Antitrust injury. Plaintiffs allege the Retail Investors suffered “a reduction in the quality

    of their trades” because of Citadel Securities’s and Robinhood’s collusive behavior. (Id. ¶ 350;



                                                       20
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 21 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    see id. ¶ 351). According to Plaintiffs, Robinhood’s prohibition on purchases of the Relevant

    Securities imposed transaction costs on the Retail Investors, forcing them to pay “a higher quality-

    adjusted price as a result of Defendants’ conduct.” (Id. ¶¶ 350, 353). In exchange for allowing

    Robinhood to route their trades to market makers like Citadel Securities, Robinhood users expect

    efficient execution of intended trades. (See id. ¶ 350). By blocking the efficient execution of

    trades of the Relevant Securities, the quality of user experience significantly decreased, effectively

    increasing the price of trading on Robinhood. (See id. ¶¶ 350–51).

           Further, the trading restrictions reduced the number of buy orders for the Relevant

    Securities, artificially decreasing their price and harming the Retail Investors who held positions.

    (See id. ¶ 353). Plaintiffs also allege harm to the companies whose securities the Retail Investors

    wanted to purchase by reducing the output of their stock. (See id. ¶¶ 355–56).

           Amended Complaint and Defendants’ Motion. Plaintiffs assert a violation of section 1 of

    the Sherman Act, 15 U.S.C. § 1, against Defendants. (See Am. Compl. ¶¶ 403–415). Defendants

    move to dismiss the Amended Complaint, arguing: (1) Plaintiffs fail to sufficiently plead that

    Defendants agreed to conspire; (2) Plaintiffs fail to sufficiently plead the remaining elements of a

    Sherman Act section 1 claim; and (3) Plaintiffs’ antitrust theory is precluded by federal securities

    laws. (See generally Mot.; Reply).

                                            III.    STANDARD

            “To survive a motion to dismiss [under Federal Rule of Civil Procedure 12(b)(6)], a

    complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (alteration added; quoting Bell

    Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although this pleading standard “does not

    require ‘detailed factual allegations,’ . . . it demands more than an unadorned, the-defendant-



                                                      21
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 22 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    unlawfully-harmed-me accusation.” Id. (alteration added; quoting Twombly, 550 U.S. at 555).

    Pleadings must contain “more than labels and conclusions, and a formulaic recitation of the

    elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (citation omitted). “[O]nly

    a complaint that states a plausible claim for relief survives a motion to dismiss.” Iqbal, 556 U.S.

    at 679 (alteration added; citing Twombly, 550 U.S. at 556).

            To meet this “plausibility standard,” a plaintiff must “plead[] factual content that allows

    the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

    Id. at 678 (alteration added; citing Twombly, 550 U.S. at 556). “The mere possibility the defendant

    acted unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co.,

    578 F.3d 1252, 1261 (11th Cir. 2009) (citation omitted), abrogated on other grounds by Mohamad

    v. Palestinian Auth., 566 U.S. 449 (2012). When considering a motion to dismiss, a court must

    construe the complaint in the light most favorable to the plaintiff and take its factual allegations as

    true. See Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997)

    (citing SEC v. ESM Grp., Inc., 835 F.2d 270, 272 (11th Cir. 1988)).

                                            IV.     ANALYSIS

           Plaintiffs assert one claim under section 1 of the Sherman Act, 15 U.S.C. § 1. (See Am.

    Compl. ¶¶ 403–15). Section 1 of the Sherman Act provides “[e]very contract, combination . . . ,

    or conspiracy, in restraint of trade or commerce among the several States, or with foreign nations,

    is declared to be illegal.” 15 U.S.C. § 1 (alterations added). Section 1 claims require two or more

    parties agreeing on a restriction; “wholly unilateral” conduct is the exclusive province of section

    2. Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 768 (1984) (quotation marks and

    citations omitted). “Despite the different terminology, there is no magic unique to each term in

    [section] 1; the terms ‘contract,’ ‘combination,’ and ‘conspiracy’ are used interchangeably to



                                                      22
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 23 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    capture the concept of concerted action, that is an ‘agreement.’” Am. Contractors Supply, LLC v.

    HD Supply Constr. Supply, Ltd., 989 F.3d 1224, 1233 (11th Cir. 2021) (alteration added; some

    quotation marks and citation omitted).

           “The purpose of the Sherman Act is to protect consumers from injury that results from

    diminished competition.” Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d 328, 334–35 (7th

    Cir. 2012) (citation omitted). “[T]he Supreme Court has long concluded that Congress intended

    only to prohibit ‘unreasonable’ restraints on trade.” Quality Auto Painting Ctr. of Roselle, Inc. v.

    State Farm Indem. Co., 917 F.3d 1249, 1260 (11th Cir. 2019) (alteration added; citation omitted).

    Thus, section 1 “prohibits (1) conspiracies that (2) unreasonably (3) restrain interstate or foreign

    trade.” Id. (citation omitted).

           Defendants attack the sufficiency of the allegations directed at the first requirement — that

    Plaintiffs adequately plead a conspiracy among the Defendants. (See Mot. 19–28). 14 Defendants

    also dispute whether Plaintiffs adequately plead the alleged agreement unreasonably restrained

    trade. (See id. 28–34). Lastly, Defendants assert that Plaintiffs’ antitrust theory is precluded by

    federal securities laws. (See id. 34–42). Because Plaintiffs fail to plausibly allege the existence

    of an agreement — let alone one that unreasonably restrains trade — the Court declines to reach

    the third suggested ground for dismissal.

           Defendants’ Relationship. “Restraints imposed by agreement between competitors have

    traditionally been denominated as horizontal restraints, and those imposed by agreement between

    firms at different levels of distribution as vertical restraints.” Bus. Elecs. Corp. v. Sharp Elecs.

    Corp., 485 U.S. 717, 730 (1988) (footnote call number omitted). As an initial matter, it is

    necessary to determine whether Plaintiffs have alleged a vertical or horizontal restraint on trade.


    14
      The Court uses the pagination generated by the electronic CM/ECF database, which appears in the
    headers of all court filings.
                                                    23
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 24 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Plaintiffs insist Defendants have a horizontal relationship (see Resp. 30 n.26) — likely because

    “virtually all vertical agreements now receive a traditional rule-of-reason analysis” rather than

    straightforward per se condemnation. In Re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 318

    (3rd Cir. 2010) (citing Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877 (2007);

    other citation and footnote call number omitted). Contrary to Plaintiffs’ position, the relationship

    in question is obviously vertical.

            The agreement alleged in the Amended Complaint is among firms at different levels of

    distribution. For Plaintiffs to argue otherwise is surprising, given the Amended Complaint

    explicitly alleges that Defendants “operate at two different levels within the distribution of

    securities trading services.” (Am. Compl. ¶ 305). Citadel Securities competes in the “upstream

    product market consist[ing] of market makers that pay brokerage firms to route their clients’ trades

    to that market maker[.]” (Id. ¶ 306 (alterations added)). Robinhood competes in the “downstream

    or consumer-facing relevant product market consist[ing] of zero account-minimum, no-fee

    brokerages[.]” (Id. ¶ 312 (alterations added)).

            According to Plaintiffs, “‘upstream’ refers to an earlier stage in the production or

    distribution chain” than the “downstream” stage. (Id. ¶ 305). It does not get any more vertical

    than “up” and “down.” See Expert Masonry, Inc. v. Boone Cnty., 440 F.3d 336, 344 (6th Cir.

    2006) (“In analyzing the economics of any given restraint, and determining thereby which kind of

    legal treatment it merits, it is vital to distinguish between horizontal restraints that involve direct

    competitors at a given level of the market, and vertical restraints that typically involve entities that

    are upstream or downstream of one another.” (emphasis added)).

            Tellingly, Plaintiffs also allege that Citadel Securities is Robinhood’s “real client[.]” (Am.

    Compl. ¶ 402 (alteration added)). Much of the Amended Complaint is devoted to showing how



                                                      24
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 25 of 53

                                                         CASE NO. 21-2989-MDL-ALTONAGA/Torres


    dependent Robinhood is on Citadel Securities for PFOF revenue. (See, e.g., id. ¶¶ 316–23). As

    Plaintiffs describe this relationship, “it is actually the Retail Investors who are Robinhood’s

    product; a product for which Citadel Securities is paying Robinhood a premium.” (Id. ¶ 402). In

    other words, Plaintiffs’ own description of Citadel Securities and Robinhood’s arrangement does

    not illustrate an agreement to “eliminate competition between two entities that provide the same

    product,” but instead “a vertical agreement between parties that provide very different services, in

    which each party profits solely from a different level of the chain of commerce.” Cates v. Crystal

    Clear Techs., LLC, No. 3:16-cv-08, 2016 WL 4379220, at *10 (M.D. Tenn. Aug. 17, 2016).

            In their Response, Plaintiffs insist Citadel Securities is “on the same horizontal level of

    distribution as clearing entities such as Robinhood Securities (Robinhood’s clearing entity).”

    (Resp. 30 n.26).      Yet, according to their Amended Complaint, customers place trades on

    Robinhood Financial’s application, Robinhood Securities takes custody of the customer’s cash and

    securities, and then “Robinhood Securities typically routes the trade to a market maker,

    predominately Citadel.” (Am. Compl. ¶¶ 83–84). All three entities thus operate at different

    distribution levels: Robinhood Securities (clearinghouse) acts in between Robinhood Financial

    (introducing brokerage) and Citadel Securities (market maker). 15

            Even if there are horizontal elements to Citadel Securities and Robinhood’s relationship,

    the focus of Plaintiffs’ allegations is the vertical relationship between them. See AT&T Corp. v.

    JMC Telecom, LLC, 470 F.3d 525, 531 (3rd Cir. 2006) (concluding an alleged restraint was vertical

    despite the defendants having a relationship with “horizontal elements” because the relationship


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       Other courts have also held that restraints involving securities trading platforms and market makers are
    vertical, not horizontal. See, e.g., In re Interest Rate Swaps Antitrust Litig., No. 16-mc-2704, 2018 WL
    2332069, at *12 n.8 (S.D.N.Y. May 23, 2018) (“Tradeweb was not a horizontal competitor of the Dealers,
    as it was a provider of electronic trading platforms, not a market maker. The label ‘naked restraint,’ which
    antitrust law uses in connection with horizontal competitors, therefore, does not fit.” (quotation marks and
    citation omitted)).
                                                        25
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 26 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    “was primarily vertical”). Where predominantly vertical firms enter into a vertical restraint of

    trade, rule of reason analysis is appropriate “[e]ven though in some ways the companies may have

    operated in similar lines of business[.]” Generac Corp. v. Caterpillar, Inc., 172 F.3d 971, 977 (7th

    Cir. 1999) (alterations added). So, the Court will analyze whether Plaintiffs plausibly allege an

    unlawful vertical restraint on trade. But first, the Court analyzes whether Plaintiffs plausibly allege

    an agreement at all.

           Conspiracy. “The first inquiry[] in any section 1 claim . . . is to locate the agreement that

    restrains trade.” Tidmore Oil Co., Inc. v. BP Oil Co./Gulp Prods. Div., a Div. of BP Oil Co., 932

    F.2d 1384, 1388 (11th Cir. 1994) (alterations added). Adequately stating a section 1 claim

    “requires a complaint with enough factual matter (taken as true) to suggest that an agreement was

    made.” Twombly, 550 U.S. at 556. The “crucial question” with regard to a conspiracy claim under

    section 1 “is whether the challenged anticompetitive conduct stems from independent decision or

    from an agreement, tacit or express[.]” Id. at 553 (alteration added; other alteration adopted;

    quotation marks and citation omitted).

           To allege an antitrust conspiracy, the plaintiff “should present direct or circumstantial

    evidence that reasonably tends to prove that the [defendant] and others had a conscious

    commitment to a common scheme designed to achieve an unlawful objective.” Monsanto Co. v.

    Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984) (alteration added; quotation marks and citations

    omitted). “Standing alone, parallel conduct is inconclusive, as it is consistent with an unlawful

    conspiracy, as well as rational and competitive business strategy prompted by common perceptions

    of the market.” United Am. Corp. v. Bitmain, Inc., 530 F. Supp. 3d 1241, 1258–59 (S.D. Fla. 2021)

    (citing Twombly, 550 U.S. at 554).

           In the November 17 Order dismissing the CCAC, the Court found Plaintiffs failed to allege



                                                      26
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 27 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    direct evidence of an agreement among Defendants.            (See Nov. 17, 2021 Order 27–31).

    Defendants contend the Amended Complaint is similarly devoid of such allegations. (See Mot.

    21). Plaintiffs do not argue otherwise and instead focus on whether there is circumstantial evidence

    of an agreement. (See Resp. 14–16). The Court thus examines whether Plaintiffs plausibly allege

    a conspiracy through circumstantial evidence, concluding they do not.

           Allegations of circumstantial evidence of an agreement. Direct evidence of an antitrust

    conspiracy is “extremely rare[.]” Am. Chiropractic Ass’n v. Trigon Healthcare, 367 F.3d 212, 226

    (4th Cir. 2004) (alteration added; citation omitted). As an alternative, a plaintiff “may present

    circumstantial facts supporting the inference that a conspiracy existed.” Gamm v. Sanderson

    Farms, Inc., 944 F.3d 455, 465 (2d Cir. 2019) (quotation marks and citation omitted). The plaintiff

    must allege “claimed facts that collectively give rise to a plausible inference that an agreement

    existed.” Always Towing & Recovery, Inc. v. City of Milwaukee, 2 F.4th 695, 703 (7th Cir. 2021)

    (quotation marks and citation omitted). Whether the plaintiff alleges a horizontal or vertical

    conspiracy, the focus is similar: do the allegations plausibly suggest an agreement was made? See

    Stewart Glass & Mirror, Inc. v. U.S.A. Glas, 17 F. Supp. 2d 649, 653 (E.D. Tex. 1998).

           When deciding a dispositive motion in an antitrust conspiracy suit, a court will first “look

    for evidence of interdependence or, put another way, that the defendants have an economic motive

    to behave in concert.” In re Plasma-Derivative Protein Therapies Antitrust Litig., 764 F. Supp.

    2d 991, 998 (N.D. Ill. 2011) (citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

    574, 596–97 (1986)). The court then “looks to all the evidence suggesting agreement, or ‘plus

    factors,’ which can be in the form of economic or non-economic evidence.” Id. (citing In re High

    Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 655 (7th Cir. 2002); In re Baby Food Antitrust




                                                    27
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 28 of 53

                                                           CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Litig., 166 F.3d 112, 122 (3d Cir. 1999)). 16

            “[A]ny showing by [plaintiffs] that tends to exclude the possibility of independent action

    can qualify as a plus factor.” Williamson Oil Co., Inc. v. Philip Morris USA, 346 F.3d 1287, 1301

    (11th Cir. 2003) (alterations added; other alteration adopted; quotation marks and citation omitted);

    see also In re Delta/AirTran Baggage Fee Antitrust Litig., 245 F. Supp. 3d 1343, 1371 (N.D. Ga.

    2017) (“There is no finite list of potential plus factors.”). Plaintiffs argue the existence of several

    plus factors: motive to collude, interfirm communications, Defendants’ pattern of concealment and

    pretextual explanations, and the structural characteristics and behavior of the market. (See Resp.

    16–25). 17 The Court examines each.

            Common motive to conspire. In the absence of direct evidence and parallel conduct

    allegations, it is important for Plaintiffs to establish a plausible common motive to conspire. See

    In re Plasma-Derivative Protein Therapies Antitrust Litig., 764 F. Supp. 2d at 998 (citing

    Matsushita, 475 U.S. at 596–97); see also Quality Auto Painting Ctr. of Roselle, Inc., 917 F.3d at

    1263 n.14 (“[The common motive] plus factor is more properly invoked in contexts where the


    16
       In the November 17 Order dismissing the CCAC, the Court first examined whether Plaintiffs alleged
    parallel conduct between Defendants. (See Nov. 17, 2021 Order 32–35). This analysis was necessary
    because Plaintiffs previously alleged a “hub-and-spoke conspiracy” involving horizontal relationships
    between multiple clearinghouses and brokerages. (Id. 34). Now, Plaintiffs have narrowed the Defendants
    to Robinhood and Citadel Securities, who are alleged to be important partners in a vertical relationship
    rather than competitors. As such, Plaintiffs no longer rely on allegations of parallel conduct, which require
    “‘plus factors’ to make the parallel conduct ‘more probative of conspiracy than of conscious parallelism.’”
    Auto. Alignment & Body Serv., Inc. v. State Farm Mut. Auto. Ins. Co., 953 F.3d 707, 726 (11th Cir. 2020)
    (citation omitted).

    Still, “[a] plus-factor analysis provides a way to organize circumstantial evidence that, in the plaintiff’s
    view, reduces the probability that defendants were acting independently.” In re Dealer Mgmt. Sys. Antitrust
    Litig., No. 18-cv-864, 2022 WL 199274, at *14 (N.D. Ill. Jan. 21, 2022) (alteration added). The Court thus
    continues to use the plus-factor framework to analyze Plaintiffs’ allegations of circumstantial evidence.
    17
      Plaintiffs no longer rely on several other plus factors the Court previously rejected, such as actions against
    unilateral self-interest (see Nov. 17, 2021 Order 38–39), the opportunity to coordinate and collude (see id.
    39–40), and government investigations (see id. 47–48). (See Resp. 14–25).


                                                          28
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 29 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


    motive is unique and specific to the alleged conspirators.” (alteration added; citation omitted)).

    Parties with “independent reasons” for conspiring can still be “interdependent” for section 1

    purposes. United States v. Apple, Inc., 791 F.3d 290, 317–18 (2d Cir. 2015) (citation and quotation

    marks omitted). “Antitrust law has never required identical motives among conspirators when

    their independent reasons for joining together lead to collusive action.” Id. (emphasis in original;

    citation and quotation marks omitted).

            According to Plaintiffs, a common motive stemmed from “Defendants’ lucrative self-

    styled PFOF ‘partnership[.]’” (Resp. 22 (alteration added; quoting Am. Compl. ¶ 244)). Plaintiffs’

    theory is that, during the trading frenzy in January 2021, Citadel Securities was at risk of incurring

    substantial losses because of its short positions in the Relevant Securities, 18 so Robinhood

    restricted trading to benefit Citadel Securities in the hopes of preserving their PFOF relationship.

    (See id. 22–24).

            The Court rejected Plaintiffs’ prior, similar motive theory as implausible. (See Nov. 17,

    2021 Order 35–38).        While Plaintiffs adequately explained why Citadel Securities would

    orchestrate the trading restrictions, the Court was unconvinced as to why the other Defendants

    would agree to implement the unlawful restrictions. (See id. 38). More specifically, the Court

    found that (1) “[t]he mere fact that Citadel Securities is an important business partner of the other

    Defendants d[id] not provide sufficient motive to conspire” (id. 37 (alteration added)), and (2) “the

    CCAC      provide[d]    an   ‘obvious     alternative   explanation’     for   imposing     the   trading

    restrictions” — the “increased collateral requirements caused by market volatility” (id. (alteration

    added; quoting Iqbal, 556 U.S. at 682)). Given that Plaintiffs rely on the same general theory, the



    18
      “That Citadel Securities held short interests in the Relevant Securities is a reasonable inference to be
    drawn in Plaintiffs’ favor.” (Nov. 17 2021 Order 36 (citing Spanish Broad. Sys. of Fla., Inc. v. Clear
    Channel Commc’ns, Inc., 376 F.3d 1065, 1069 n.1 (11th Cir. 2004))).
                                                       29
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 30 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    question now is whether they have sufficiently bolstered their allegations to render their motive

    theory plausible.

           In the Amended Complaint, Plaintiffs shift their focus to Robinhood and Citadel Securities’

    relationship, dropping every other Defendant. In doing so, Plaintiffs add allegations expanding

    upon the lucrative PFOF relationship between Robinhood and Citadel Securities. (See, e.g., Am.

    Compl. ¶¶ 316–323). The Court previously determined this relationship alone did not provide

    sufficient motive to conspire considering Plaintiffs did not allege that Citadel Securities threatened

    or suggested it would end the relationship or explain why Robinhood would not simply use a

    different market maker if it did. (See Nov. 17, 2021 Order 37). In other words, Plaintiffs failed to

    explain why Robinhood would agree to an illegal demand to restrict trading.

           Plaintiffs have added a new wrinkle that warrants consideration.            In the Amended

    Complaint, Plaintiffs state that Robinhood filed for an initial public offering (“IPO”) in March

    2021 and went public on July 29, 2021. (See Am. Compl. ¶ 82). Plaintiffs allege that Robinhood

    acquiesced to an anticompetitive agreement with Citadel Securities because Robinhood — which

    was anticipating filing for an IPO — “simply could not run the risk that its ‘transaction-based

    revenue would be impacted negatively’ should Citadel Securities terminate” their relationship. (Id.

    ¶ 401; see id. ¶¶ 318–19). This theory finds some support from Howard’s internal message on

    January 27, 2021 informing Tenev that she believed Citadel Securities would make some demands

    on limiting PFOF, although this message does not indicate what, if anything, Citadel Securities

    was asking for in return. (See id. ¶¶ 237, 239).

           According to Plaintiffs, Robinhood “could not rely on the possibility that other market

    makers, such as Virtu Americas, were standing by willing and able to pay Robinhood for order

    flow that Citadel would have otherwise accepted[,]” considering how much more PFOF Citadel



                                                       30
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 31 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Securities typically purchased than the others. (Id. ¶ 319 (alteration added); see id. ¶ 318; Resp.

    23 n.17). This conclusion is supported by Robinhood’s Form S-1, where Robinhood disclosed

    that its “transaction-based revenue would be impacted negatively” if any of its four biggest market

    maker relationships ended and it could not find a replacement market maker in a timely manner.

    (Id. ¶ 81 (quotation marks omitted)).

           Still, the alleged motive for Robinhood is somewhat speculative and conclusory. There

    are no factual allegations supporting the notion that Robinhood restricted trading with its

    forthcoming IPO in mind. Plaintiffs essentially ask the Court to infer that Robinhood was

    motivated to agree to unlawfully restrict trading simply because of the timing of its forthcoming

    IPO. (See id. ¶ 318). Plaintiffs also ask the Court to infer that Citadel Securities wielded its

    influence as Robinhood’s largest purchaser of PFOF to make anticompetitive demands. (See id.

    ¶¶ 318–19). And Plaintiffs ask the Court to infer that Robinhood could not and would not find

    replacement buyers for PFOF because Citadel Securities was Robinhood’s largest purchaser of

    PFOF. (See id.). Plaintiffs’ proffered motive theory thus rests on a series of inferences.

           Taken together, Plaintiffs plausibly allege economic motives for why Citadel Securities

    and Robinhood might have entered into an anticompetitive agreement, although Robinhood’s

    motive tenuously rests upon a series of inferences. Plaintiffs’ motive allegations weakly support

    an inference of a conspiracy.

           Interfirm communications. “[E]vidence of a high level of interfirm communications” may

    constitute a plus factor. Mayor & City Council of Balt. v. Citigroup, Inc., 709 F.3d 129, 136 (2d

    Cir. 2013) (alteration added; footnote call number, quotation marks, and citation omitted). In

    dismissing the CCAC, the Court examined Plaintiffs’ allegations of interfirm communications and

    concluded they weakly support an inference of a conspiracy between Robinhood and Citadel



                                                    31
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 32 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Securities. (See Nov. 17, 2021 Order 44). The Amended Complaint does not add any new

    allegations of communications between the two entities. (Compare CCAC ¶¶ 296–313, 332–35,

    452–53, 455, 461–63, with Am. Compl. ¶¶ 226–235, 239–46, 257–60, 320–22). The Court

    examines these allegations once more.

            Embedded in the Amended Complaint are several vague and ambiguous emails between

    high-level executives of Robinhood and Citadel Securities and internal Robinhood emails

    discussing external conversations with Citadel Securities. Given their timing and overall context,

    these communications could be inferred to relate to the trading restrictions imposed on January 28,

    2021.

            On January 20, 2021, Citadel Securities’s Head of Execution Services emailed Josh

    Drobnyk, Robinhood’s Vice President of Corporate Relations and Communications, stating he was

    happy they “will be working together” and asking Drobnyk to “let [him] know if [they are]

    interested and who the main contact should be.” (Am. Compl. ¶ 229 (alterations added; quotation

    marks omitted)). On January 25, 2021, Drobnyk replied “[w]e are on board” and copied Lucas

    Moskowitz, Robinhood’s Deputy General Counsel, who was “going to be [Robinhood’s] central

    point of contact[.]” (Id. ¶ 230 (alterations added)).     Moskowitz and the Citadel Securities

    executive then arranged a call for the morning of January 26, 2021, the details of which are

    unknown. (See id. ¶¶ 231–33). Considering the Amended Complaint admits the details of this

    agreement or discussion are unknown, these emails are only relevant given their timing and

    participants.

            Around 4:40 p.m. EST on January 27, 2021, Howard, Robinhood’s COO, messaged Tenev,

    Robinhood’s CEO, that she, along with Daniel Gallagher and Jim Swartwout, Robinhood’s Chief

    Legal Officer and Robinhood Securities’ President and CEO, respectively, would be joining “a



                                                    32
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 33 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    call with Citadel” at 5:00 p.m. that day. (Id. ¶ 239; see id. ¶ 237). Howard told Tenev she believed

    Citadel Securities would “make some demands on limiting [payment for order flow] across the

    board” but that they “won’t agree to anything[.]” (Id. ¶ 239 (alterations added)). Tenev told

    Howard that although he had never met Ken Griffin, the CEO of Citadel Securities, she could

    mention on the call that “this would be a good time for [Tenev] to chat with [] [G]riffin[.]” (Id.

    (alterations added)). The request from a market maker to limit the order flow sent to it is not

    equivalent to a demand to restrict trading in certain securities; however, the timing and the

    involvement of high-level executives render these emails relevant.

           Roughly two hours later, Swartwout received an internal message stating there was

    “[a]necdotal evidence that several ‘very large’ firms are having really bad nights too”; to which

    Swartwout replied, “everyone is. [Y]ou wouldnt [sic] believe the conv[ersation] we had with

    Citadel. [T]otal mess[.]” (Id. ¶ 240 (alterations added)). At 8:16 p.m., Swartwout updated a

    Citadel Securities employee that he was looking for “new Citadel numbers”; the employee

    responded that the numbers were “firming up right now in light of the follow up [sic] conversation

    between Gallagher and [redacted.]”      (Id. ¶ 242 (alteration adopted; alterations added; quotation

    marks omitted)). Around 8:30 p.m. that night, Swartwout emailed Citadel Securities’s Vice

    President of Business Development to offer to set up a call that night with Tenev and mentioned

    Tenev would like to have a discussion with Griffin at some point, given their relationship, but

    “[n]ot specific to this crazy issue[.]” (Id. ¶ 245 (alterations added); see id. ¶¶ 243–44). After the

    Citadel Securities executive asked Swartwout if Tenev would like to have the call that night,

    Swartout declined and said:

           Just looking for your dictated schedule and caps. I have 20 minutes until batch so
           whatever it is we are not going to be able to address it tomorrow given the notice.
           I have to say I am beyond disappointed in how this went down. It’s difficult to
           have a partnership when these kind [sic] of things go down this way.

                                                     33
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 34 of 53

                                                    CASE NO. 21-2989-MDL-ALTONAGA/Torres



    (Id. ¶ 245 (alteration added)). Again, these emails are vague and ambiguous, and they are only

    relevant considering the timing and those involved.

           Lastly, on January 30, 2021, a Citadel Securities executive informed Drobnyk that he

    “wanted to generally coordinate messaging” and copied on the email Robinhood’s “[General

    Counsels] as an FYI and for privilege.” (Id. ¶ 260 (alteration added); see id. ¶¶ 257–58). The two

    then arranged an “[u]rgent” phone call. (Id. ¶ 260 (alteration added)). Given the context of the

    preceding communications and the fact that this request to coordinate messaging occurred even as

    Robinhood continued to restrict trading in the Relevant Securities, these emails — while vague

    and ambiguous — do lend some credence to Plaintiffs’ conspiracy theory.

           Of course, Defendants must frequently communicate given their business relationship.

    See, e.g., In re Nexium (Esomeprazole) Antitrust Litig., 842 F.3d 34, 56–57 (1st Cir. 2016)

    (explaining that companies operating in the same market can have legitimate business reasons to

    communicate, and those communications do not themselves establish a plausible antitrust

    conspiracy). But given the timing, the players involved, and the fact that each of these emails

    could be inferred to relate to the trading restrictions imposed on January 28, 2021, Plaintiffs’

    allegations of interfirm communications are supportive of a conspiracy.

           But the support is thin. Plaintiffs cite In re Salmon, No. 19-21551-Civ, 2021 WL 1109128

    (S.D. Fla. Mar. 23, 2021), where the undersigned found interfirm and intrafirm communications

    supported a reasonable inference of conspiracy. (See, e.g., Resp. 14). There, the plaintiffs

    “point[ed] to bilateral and multilateral agreements not to compete and a high level of

    communications among [d]efendants,” including complete details of multiple meetings, such as

    who was in attendance, when the meetings occurred, and the contents of those communications.

    In re Salmon, 2021 WL 1109128, at *15 (alterations added). Here, Plaintiffs concede they do not

                                                   34
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 35 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    know what was discussed during the several calls between the Robinhood and Citadel Securities

    executives.

           This is not necessarily fatal, for Plaintiffs do not have to plead the contents of the interfirm

    communications to move the needle closer to plausibility. Interfirm communications can help

    Plaintiffs establish an “opportunity to conspire,” even if “such opportunity alone is insufficient to

    support an inference that a conspiracy actually happened.” Iowa Pub. Emps. Ret. Sys. v. Merrill

    Lynch, Pierce, Fenner & Smith Inc., 340 F. Supp. 3d 285, 322 (S.D.N.Y. 2018).

           Plaintiffs have alleged a sufficiently high level of interfirm communications to demonstrate

    an opportunity to conspire. Allegations of occasional interfirm communications typically do not

    establish the plus factor. See Mayor & Council of Balt., 709 F.3d at 140. Plaintiffs must allege a

    “high level” of interfirm communications. Id. (quotation marks omitted). A “high level” of

    interfirm communications contemplates multiple meetings, emails, phone calls, or other

    communications taking place over time. See, e.g., SD3, LLC v. Black & Decker (U.S.) Inc., 801

    F.3d 412, 432 (4th Cir. 2015) (“[T]he complaint describes phone calls, meetings, and discussions

    among the various conspirators.” (alteration added)); Hendershot v. S. Glazer’s Wine & Spirits of

    Oklahoma, LLLP, No. 20-cv-0652, 2021 WL 3501523, at *8 (N.D. Okla. Aug. 9, 2021)

    (“[D]efendants communicated frequently via an industry group they created[.]” (alterations

    added)); PharmacyChecker.com, LLC v. Nat’l Ass’n of Bds. of Pharmacy, 530 F. Supp. 3d 301,

    318 (S.D.N.Y. 2021) (“Defendants share close business relationships, including common

    founders, interlocking membership in organizations, attending the same meetings, and promotion

    of each other’s products and activities[.]” (alterations added and citations omitted)); Miami Prods.

    & Chem. Co. v. Olin Corp., 449 F. Supp. 3d 136, 169 (W.D.N.Y. 2020) (finding a “high level of

    interfirm communications” where the amended complaint alleged the defendants participated in



                                                     35
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 36 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    “three meetings during the Class Period that always coincided with price increase

    announcements”).

           Plaintiffs meet this standard here. According to the Amended Complaint, at least two

    phone calls between Citadel Securities and Robinhood executives took place in the days leading

    up to January 28, 2021, the day Robinhood curtailed trading on the Restricted Securities. (See

    Am. Compl. ¶¶ 232, 237). The parties also exchanged numerous emails between January 20 and

    January 28, indicating Robinhood and Citadel Securities kept frequent contact throughout the short

    squeeze. (See id. ¶¶ 227–233, 235). In other words, Plaintiffs allege not just “isolated discussions”

    but “a ‘high level’ of interfirm communications.” Mayor & Council of Balt., 709. F.3d at 140.

           But Plaintiffs must allege more than that Robinhood and Citadel Securities communicated.

    Plaintiffs have only alleged an opportunity to conspire; they have not connected that opportunity

    to a plausible inference of an actual antitrust conspiracy. Interfirm communications, under the

    right circumstances, can help give rise to a plausible conspiracy claim, but not when those

    allegations have an “obvious alternative explanation.” Twombly, 550 U.S. at 567. The Court

    cannot take allegations of communications, followed by allegations of a restriction, and simply fill

    in the blanks for Plaintiffs, particularly where it “is just as plausible, if not more so,” that the

    communications did not form the basis of an antitrust conspiracy. Stanislaus Food Prods. Co. v.

    USS-POSCO Indus., 803 F.3d 1084, 1093 (9th Cir. 2015).

           Here, the retail-driven short squeeze, driven in part by Robinhood users, had set the

    financial world ablaze: “several ‘very large’ firms [were] having really bad nights[.]” (Am.

    Compl. ¶ 240 (alterations added)). Given the PFOF relationship between Robinhood and Citadel

    Securities, it would be understandable for employees — even executive-level employees — at a

    broker and a market maker to communicate about what impact the squeeze might have on each



                                                     36
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 37 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    party’s ability to fulfill its obligations. See, e.g., Int’l Constr. Prod. LLC v. Ring Power Corp., No.

    5:20-cv-226, 2021 WL 6755717, at *8 (N.D. Fla. Dec. 23, 2021) (holding that interfirm

    conversation between defendant companies’ “high-level executives” about plaintiff and its

    business partner did not give rise to a boycott conspiracy because plaintiff and its partner “injected

    an entirely new business model into the industry[,]” which was worthy of conversation (alteration

    added)). Plaintiffs’ revisions to the Amended Complaint do little to advance the theory that when

    Robinhood and Citadel Securities communicated, they conspired to stop purchases of the

    Restricted Securities.

           Certainly, interfirm communications between executives are a plus factor, and the

    communications Plaintiffs allege are relevant. But in this instance, the messages at best create an

    “equally plausible inference of mere interdependent behavior” that nevertheless “fall[s] short of a

    tacit agreement” to restrict trading. Apex Oil Co. v. Di Mauro, 822 F.2d 246, 254 (2d Cir. 1987)

    (alteration added and citation omitted). The Court thus “find[s] it difficult” to infer an antitrust

    conspiracy. Id. (alteration added).

           In sum, Plaintiffs’ allegations of vague and ambiguous communications between

    Defendants only support a weak inference of a conspiracy, which does not, by itself, advance

    Plaintiffs’ theory from possible to plausible.

           Pattern of concealment.        “[A]cts of concealment are circumstantial evidence of a

    conspiracy’s existence[.]” In re Urethane Antitrust Litig., No. 04-1616, 2013 WL 2097346, at *11

    (D. Kan. May 15, 2013) (alterations added; citing United States v. Curtis, 635 F.3d 704, 717 (5th

    Cir. 2011)). To establish concealment, Plaintiffs must allege that Robinhood or Citadel Securities

    engaged in some affirmative “trick or contrivance tending to exclude suspicion and prevent

    inquiry.” Texas v. Allan Constr. Co., Inc., 851 F.2d 1526, 1529 (5th Cir. 1988) (quotation marks,



                                                      37
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 38 of 53

                                                          CASE NO. 21-2989-MDL-ALTONAGA/Torres


    citation, and footnote call number omitted). Plaintiffs argue they have plausibly alleged that

    Defendants engaged in a pattern of concealment, as evidenced by Defendants’ vague and

    ambiguous emails and reliance on oral communications. (See Resp. 21–22).

            The Court previously rejected this same argument because it “is not unusual for two firms

    in an ongoing business relationship to have conversations over the phone; and Plaintiffs admit they

    do not know the substance of these conversations.” (Nov. 17, 2021 Order 45). The Court

    distinguished In re Urethane Antitrust Litigation, 913 F. Supp. 2d 1145, 1154–56 (D. Kan. 2012),

    a case Plaintiffs previously relied upon, given (1) the case included numerous, detailed facts

    suggesting concealment such as document destruction, and (2) the oral communications in that

    case were suspicious because the conspirators were direct competitors. (See Nov. 17, 2021 Order

    44–45). Here, in contrast, Plaintiffs describe a handful of vague and ambiguous emails between a

    firm and its client. Plaintiffs have not provided any new allegations of concealment and instead

    rehash the same argument with new, inapt case citations. 19 (See Resp. 21–22).

            As before, “[t]he Court will not infer a conspiracy simply because two business partners

    chose to use phones to communicate.” (Nov. 17, 2021 Order 45 (alteration added)). Plaintiffs do

    not make out a plus factor here.

            Pretextual explanations. Pretextual statements may constitute circumstantial evidence of

    a conspiracy. See In re McCormick & Co., Inc., 217 F. Supp. 3d 124, 132 (D.D.C. 2016). Plaintiffs


    19
       Plaintiffs’ cited cases do not provide support here. (See Resp. 21–22 (citing United States v. Siegler, 990
    F.3d 331, 339 (4th Cir. 2021) (upholding inference that the defendant knowingly participated in a drug
    distribution conspiracy because of the familiarity between the coconspirators and the coded language they
    used); In re Urethane Antitrust Litig., 2013 WL 2097346, at *11 (D. Kan. May 15, 2013) (holding the
    destruction of documents may be evidence of a conspiracy); United States v. Curtis, 635 F.3d 704, 717 (5th
    Cir. 2011) (finding statements imploring one not to go to the authorities were highly probative of a
    conspiracy); Belcher v. Atl. Cap. Realty, LLC, No. 6:08-cv-1989, 2010 WL 11507399, at *5 (M.D. Fla.
    Sept. 17, 2010) (no discussion of concealment); United States v. Gacnik, 50 F.3d 848, 852 (10th Cir. 1995)
    (finding the concealment of explosives was evidence of a conspiracy to manufacture explosives).


                                                         38
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 39 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


    renew their previously rejected contention that they have plausibly alleged that Robinhood made

    pretextual statements to explain the trading restrictions. (Compare Resp. 25, with Nov. 17, 2021

    Order 45–47). They allege that Robinhood used the NSCC’s $3 billion dollar margin call on

    January 28, 2021 as a pretext to impose trading restrictions to benefit Citadel Securities. (See

    Resp. 25; Am. Compl. ¶ 178). Plaintiffs offer the following three facts in support of this argument:

    (1) “Robinhood’s executives were selling their own shares of the Relevant Securities” before the

    margin call; (2) “Robinhood and Citadel were engaged in heated discussions regarding the

    degrading market conditions” before the margin call; and (3) “Robinhood met its capital

    requirements” before and after January 28, 2021. (Resp. 25). The Court examines each in turn.

            To start, Plaintiffs point to a January 26, 2021 internal chat where Swartwout informed

    another Robinhood executive “that Robinhood was moving GameStop to 100% margin the next

    day, stating ‘I sold my AMC today. FYI — tomorrow we are moving GME to 100% — so you

    are aware.’” (Am. Compl. ¶ 234). There are two problems with this point. First, Swartwout’s

    message related to margin requirements, not trading positions. Second, the allegation undermines

    Plaintiffs’ position: that Swartwout and other Robinhood executives knew they would impose

    margin requirements on January 26, 2021 — before “the heated discussions” with Citadel

    Securities occurred on January 27, 2021 — reinforces the notion that Robinhood was in fact

    concerned about meeting the NSCC’s daily margin calls. (Reply 25; see Am. Compl. ¶¶ 234–35).

           Next, Plaintiffs emphasize the “heated discussions” themselves. (Reply 25). As a brief

    recap, on January 27, 2021, Howard informed Tenev that she was joining a call that evening with

    Swartwout and Citadel Securities, and she believed Citadel Securities would “make some demands

    on limiting PFOF across the board.” (Am. Compl. ¶ 239). A few hours later, Swartwout emailed

    a Citadel Securities executive again, stating:



                                                     39
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 40 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


           Just looking for your dictated schedule and caps. I have 20 minutes until batch so
           whatever it is we are not going to be able to address it tomorrow given the notice.
           I have to say I am beyond disappointed in how this went down. It’s difficult to
           have a partnership when these kind [sic] of things go down this way.

    (Id. ¶ 245 (alteration added)).

           Crucially, these communications do not indicate whether Citadel Securities and Robinhood

    executives discussed trading on January 27, 2021. A market maker’s demand to reduce its

    purchases of PFOF from a broker is not equal to a demand that the broker impose trading

    restrictions on certain stocks for all retail investors. To infer that Robinhood used the January 28,

    2021 margin call as pretext to impose trading restrictions on behalf of Citadel Securities is a leap.

           This inference is also not reasonable because the Amended Complaint provides several

    indications that Robinhood was legitimately concerned about meeting its collateral requirements.

    As stated, Robinhood executives discussed raising margin requirements for the Relevant Securities

    before the discussions with Citadel Securities on January 27, 2021. (See Am. Compl. ¶ 234). And

    on the morning of January 28, 2021, shortly after the NSCC sent Robinhood a $3 billion margin

    call (see id. ¶ 178), Howard, Robinhood’s COO, “messaged internally that Robinhood ha[d] a

    ‘major liquidity issue’” (id. ¶ 180 (alteration and emphasis added)). In another internal message

    on January 28, 2021, Dusseault, Robinhood Financial’s President and COO, said “we will navigate

    through this [NSCC] issue[.]” (Id. ¶ 182 (alteration added)). Further, other brokerages not alleged

    to be part of this conspiracy adjusted margin requirements or imposed trading restrictions on

    January 28, 2021. (See id. ¶¶ 195, 365–367). These facts render it implausible that the margin

    call was used as pretext simply because Robinhood and Citadel Securities engaged in some

    unknown discussion about PFOF — the subject of their otherwise lawful business

    relationship — on January 27, 2021.

           Finally, Plaintiffs contend the margin call was used as pretext because Robinhood

                                                     40
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 41 of 53

                                                         CASE NO. 21-2989-MDL-ALTONAGA/Torres


    continued to impose some trading restrictions even after it met its capital requirements. (See Resp.

    25). As the Court previously stated, however, “the fact that Robinhood continued to impose

    restrictions after meeting its collateral requirements is of no moment because the trading

    restrictions ‘reduce[d] the volatility multiplier on the collateral that Robinhood Securities was

    required to post with the NSCC.’” (Nov. 17, 2021 Order 46 (alteration in original)). “It is not

    suspicious for Robinhood to strive to avoid higher collateral requirements.” (Id.). 20

            In short, Plaintiffs fail to make out a plus factor here. Further, an examination of the

    Amended Complaint’s allegations reveals an “obvious alternative explanation” for the trading

    restrictions: the increased collateral requirements imposed by the NSCC in response to

    unprecedented market volatility. Twombly, 550 U.S. at 567.

            Market structure. Plaintiffs renew their argument that structural characteristics of the

    markets Defendants operate in render the markets “ripe for collusion.” (Resp. 24 (footnote call

    number omitted)). The Court previously rejected this argument because Plaintiffs failed to

    coherently define the market and because the case law Plaintiffs relied on “involve[s] price-fixing

    conspiracies [where] the defendants utilized their market power to raise the prices of goods they

    sold.” (Nov. 17, 2021 Order 49 (alterations added; citations omitted)).

            Plaintiffs now define two markets: an upstream market maker market and a downstream

    brokerage market. (See Am. Compl. ¶¶ 306, 312). They allege these markets are “defined by high

    barriers to entry, high fixed costs, and low variable costs[;]” and the brokerage consumers “are

    locked-in in the short run[.]” (Resp. 24 (alterations added; citing Am. Compl. ¶¶ 370–92)). The


    20
       Plaintiffs argue “the decision to implement restrictions on purchasing only was arbitrary” because
    “[v]olatility is caused by both increases and decreases in a stock price.” (Resp. 25 n.20 (alteration added;
    emphasis omitted); see also Am. Compl. ¶¶ 361–62). Why, then, would “other broker-dealers, including
    Ally, Dough, Public.com, SoFi, Stash, Tastyworks and Webull implement[] purchasing restrictions” but
    not sales restrictions? (Am. Compl. ¶ 195 (alteration added)).


                                                        41
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 42 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Court remains unconvinced that a plus factor exists here.

           Plaintiffs once more rely on In re High Fructose Corn Syrup Antitrust Litigation, 295 F.3d

    651, in arguing that a plus factor exists under these market characteristics. (Resp. 24). Yet, as the

    Court previously stated, In re High Fructose Corn Syrup Antitrust Litigation involved price fixing

    among competitors. (See Nov. 17, 2021 Order 49). Plaintiffs present a different anticompetitive

    theory: a brokerage allegedly restricted output to lower prices for securities it did not buy or sell

    for its own accounts, all for the benefit of its market maker client. Plaintiffs have made no effort

    to address the distinction between this case and the price-fixing case they rely on, nor do they

    otherwise provide legal authority supporting the application of this plus factor to their novel

    anticompetitive theory. (See Resp. 24).

           Even if the Court was convinced that this plus factor applies to Plaintiffs’ novel

    anticompetitive theory and that Plaintiffs do not merely describe a legal oligopoly, Plaintiffs define

    the wrong markets, as discussed below.

           Market Behavior. Also in reliance on In re High Fructose Corn Syrup Antitrust Litigation,

    295 F.3d 651, Plaintiffs argue for the application of a plus factor based on “evidence that the

    market behaved in a noncompetitive manner.” (Resp. 24 (capitalization omitted)). But Plaintiffs

    must do more than simply allege that “market behavior is interdependent and characterized by

    conscious parallelism.” In re Ins. Brokerage Antitrust Litig., 618 F.3d at 322 (citations and

    footnote call number omitted). Here, they maintain the trading restrictions imposed by Robinhood

    were anticompetitive because retail customers were unable to purchase the Relevant Securities

    despite their desire to do so. (See Resp. 24–25).

           This clearly falls short. Robinhood was not the only firm in the brokerage market that

    implemented purchasing restrictions — Ally, Dough, Public.com, SoFi, Stash, Tastyworks,



                                                     42
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 43 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Webull, E*Trade, and Interactive Brokers all implemented purchasing restrictions on January 28,

    2021; and none of these brokerages is alleged to be part of the conspiracy. (See Am. Compl.

    ¶¶ 195, 366–67). Therefore, the trading restrictions themselves do not warrant the application of

    a plus factor here.

                                                    ***

           To recap, Plaintiffs successfully advance two plus factors, each providing only weak

    support for a plausible inference of a conspiracy. The first plus factor is the common motive to

    conspire. Plaintiffs allege economic motives that explain why Citadel Securities and Robinhood

    might have conspired to restrict trading in the Relevant Securities in January 2021. Citadel

    Securities is alleged to have held substantial short positions in the Relevant Securities in January

    2021, subjecting it to potentially massive losses considering the unprecedented increases in the

    stocks’ prices caused by a retail trading frenzy.

           Further, Robinhood allegedly acquiesced because it could not risk sustaining revenue

    losses right before its forthcoming IPO. The plausibility of Robinhood’s motive is tenuous,

    however, because it rests on a series of unsubstantiated inferences. Plaintiffs ask the Court to infer

    that Robinhood was motivated by the forthcoming IPO simply based on the timing of the IPO, that

    Citadel Securities wielded its influence as Robinhood’s most important client to pressure the

    brokerage to restrict trading, and that Robinhood could not simply turn to another market maker

    because Citadel Securities accounts for a large portion of Robinhood’s PFOF revenue. While

    Plaintiffs do not bolster this theory with concrete allegations linking Robinhood’s decision to

    impose restrictions and the IPO, they nevertheless allege economic motivations that could justify

    why both firms would benefit from an agreement to restrict trading, so this plus factor provides

    some support for Plaintiffs.



                                                        43
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 44 of 53

                                                     CASE NO. 21-2989-MDL-ALTONAGA/Torres


           The second plus factor is the communications between Defendants. High-level executives

    at these firms exchanged several vague and ambiguous emails immediately before and after

    Robinhood imposed trading restrictions on the Relevant Securities on January 28, 2021. These

    emails set up telephone discussions between the executives, the substance of which is unknown to

    Plaintiffs. Certainly, these emails may be somewhat suspicious given the participants and their

    timing, and they indicate Defendants had an opportunity to conspire. But a few vague and

    ambiguous emails between two firms in an otherwise lawful, ongoing business relationship only

    provide thin support for Plaintiffs.

           So, Plaintiffs have tenuously alleged conditions under which Defendants may have agreed

    to restrict trading. Is it conceivable that Robinhood restricted trading on January 28, 2021 at

    Citadel Securities’s direction? Sure. But do Plaintiffs’ allegations “nudge[] their claims across

    the line from conceivable to plausible[?]” Twombly, 550 U.S. at 570 (alterations added). No.

           What’s more, the Amended Complaint provides “an obvious alternative explanation” for

    the trading restrictions: the increased collateral requirements imposed by the NSCC in response to

    unprecedented market volatility. Id. at 567. Even before the allegedly contentious discussions

    between Robinhood and Citadel Securities on January 27, 2021, in internal messages, Robinhood

    executives discussed imposing margin requirements on the Relevant Securities. And on January

    28, Robinhood executives sent internal messages expressing concern about the NSCC margin call

    and liquidity problems. Further, Ally, Dough, Public.com, SoFi, Stash, Tastyworks, Webull,

    E*Trade, and Interactive Brokers all imposed trading restrictions on January 28; and none of these

    firms is alleged to have done so on behalf of Citadel Securities.

           Altogether, Plaintiffs have not plausibly alleged an agreement between Robinhood and

    Citadel Securities to restrict trading on January 28, 2021. For this reason, the Amended Complaint



                                                    44
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 45 of 53

                                                         CASE NO. 21-2989-MDL-ALTONAGA/Torres


    is due to be dismissed.

            Unreasonable restraint on trade. Even if Plaintiffs plausibly alleged a conspiracy, they

    fail to allege an “unreasonable restraint on competition[.]” State Oil Co. v. Khan, 522 U.S. 3, 10

    (1997) (alteration added; citation omitted). “An unreasonable restraint of trade is one that harms

    competition in general, rather than the plaintiff, or any other competitor.” Bitmain, 530 F. Supp.

    3d at 1266 (citing Spanish Broad. Sys. of Fla., Inc., 376 F.3d at 1069). “In assessing whether an

    agreement unreasonably restrains trade such that it violates [section 1], courts generally apply one

    of three modes of antitrust analysis: (1) the per se rule, for obviously anticompetitive restraints;

    (2) the quick look approach, for those restraints with some procompetitive justification; or (3) the

    full ‘rule of reason,’ for restraints whose net impact on competition is particularly difficult to

    determine.” In re Terazosin Hyrdochloride Antitrust Litig., 352 F. Supp. 2d 1279, 1310–11 (S.D.

    Fla. 2005) (alteration added; citations omitted). “The presumption in cases brought under section

    1 of the Sherman Act is that the rule-of-reason standard applies.” Seagood Trading Corp. v.

    Jerrico, Inc., 924 F.2d 1555, 1567 (11th Cir. 1991) (citation omitted). 21

            As explained, the Amended Complaint alleges a vertical relationship between Defendants

    and thus a vertical restraint on trade. “Typically only ‘horizontal’ restraints — restraints ‘imposed

    by agreement between competitors’ — qualify as unreasonable per se.” Ohio v. Am. Express Co.,

    138 S. Ct. 2274, 2283–84 (2018) (citation omitted). By contrast, “nearly every . . . vertical


    21
      Plaintiffs insist “it is premature for the Court to determine whether the per se or the rule of reason test
    applies at the motion[-]to[-]dismiss stage.” (Resp. 13 (alterations added); see also id. 28–29). Not so.
    Courts routinely determine which test applies at the motion-to-dismiss stage. See, e.g., Quality Auto
    Painting Ctr. of Roselle, Inc., 917 F.3d at 1271–72; Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 1327,
    1333–36 (11th Cir. 2010); In re Musical Instruments & Equipment Antitrust Litig., 798 F.3d 1186, 1191–
    93 (9th Cir. 2015); Dickson v. Microsoft Corp., 309 F.3d 193, 205–206 (4th Cir. 2002); cf. PSKS, Inc. v.
    Leegin Creative Leather Prods., Inc., 615 F.3d 412, 417–20 (5th Cir. 2010) (using the rule of reason test at
    motion-to-dismiss stage); Total Benefits Planning Agency, Inc. v. Anthem Blue Cross & Blue Shield, 552
    F.3d 430, 434–37 (6th Cir. 2008) (analyzing under both the per se and rule of reason tests at motion-to-
    dismiss stage).
                                                         45
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 46 of 53

                                                        CASE NO. 21-2989-MDL-ALTONAGA/Torres


    restraint . . . should be assessed under the rule of reason.” Id. at 2284 (citations omitted). In half-

    heartedly arguing the per se rule applies here, Plaintiffs ignore well-established Supreme Court

    precedent establishing that “virtually all vertical agreements now receive a traditional rule-of-

    reason analysis.” In re Ins. Brokerage Antitrust Litig., 618 F.3d at 318 (citing Leegin, 551 U.S.

    877; other citation and footnote call number omitted). The Court is thus unconvinced the per se

    rule applies.

            Nor is the Court convinced it should evaluate the alleged agreement under the quick look

    approach. The quick look approach “fills in the continuum between per se analysis and the full

    rule of reason.” Cont’l Airlines, Inc. v. United Airlines, Inc., 277 F.3d 499, 510 (4th Cir. 2002)

    (citation omitted). It only applies when “an observer with even a rudimentary understanding of

    economics could conclude that the arrangements in question have an anticompetitive effect on

    customers and markets.” Cal. Dental Ass’n v. F.T.C., 526 U.S. 756, 770 (1999) (citation omitted).

    That is clearly not the case here.

            First, while Plaintiffs may emphasize that Robinhood Securities and Citadel Securities

    operate at the same level of distribution (see Resp. 30 n.26), the restraint alleged is vertical, for its

    participants are Citadel Securities, the upstream market maker, and Robinhood, the downstream

    broker-dealer (see Am. Compl. ¶¶ 305–06, 312). Vertical restraints do not become horizontal

    restraints just because one of the participants operates several lines of business, one of which is

    similar to that of the other participant. See Generac Corp., 172 F.3d at 977. As this is a vertical

    restraint, the rule of reason analysis should apply, not the quick look. See In re Ins. Brokerage

    Antitrust Litig., 618 F.3d at 318 (holding that the quick look analysis applies to horizontal

    restraints, while vertical restraints are evaluated using the rule of reason); Hannah’s Boutique, Inc.

    v. Surdej, 112 F. Supp. 3d 758, 770 (N.D. Ill. 2015) (declining to apply the quick look because a



                                                       46
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 47 of 53

                                                       CASE NO. 21-2989-MDL-ALTONAGA/Torres


    “reasonable fact finder could not infer a horizontal agreement from these facts” (citation omitted));

    Acton v. Merle Norman Cosms., Inc., No. 88-cv-7462, 1995 WL 441852, at *8 (C.D. Cal. May 16,

    1995) (“The ‘quick look’ approach . . . has not been judicially approved for analyzing the vertical

    nonprice restraints raised in this case[.]” (alterations added; citation omitted)).

           Second, the restraint here involves a complicated scheme where one participant allegedly

    shut down purchases of the Restricted Securities to mitigate the other’s losses, all in the face of a

    largely unforeseen short squeeze orchestrated by retail investors on the Internet. In other words,

    this is an unusual antitrust case. Courts do not use the quick look approach in unusual cases.

    Where “the circumstances of the restriction are somewhat complex,” Cal. Dental Ass’n, 526 U.S.

    at 775 n.12, or the “features of the arrangement” are “unique[,]” Cal. ex rel. Harris, 651 F.3d 1118,

    1137 (9th Cir. 2011) (alteration added), the quick look approach is inappropriate. Accordingly,

    the rule of reason applies here.

           Rule of reason. In applying the rule of reason, a court must ask whether the defendant

    “has shown that the alleged restraint has had an anticompetitive effect on the market.” Procaps

    S.A. v. Patheon, Inc., 845 F.3d 1072, 1084 (11th Cir. 2016). “[C]ourts usually cannot properly

    apply the rule of reason without an accurate definition of the relevant market.” Am. Express Co.,

    138 S. Ct. at 2285 (alteration added; citation and footnote call number omitted). “Without a

    definition of the market there is no way to measure the defendant’s ability to lessen or destroy

    competition.” Id. (alterations adopted; citations and quotation marks omitted). The Amended

    Complaint therefore “must ‘identify the relevant market in which the harm occurs.’” Bitmain, 530

    F. Supp. 3d at 1256 (citing Jacobs, 626 F.3d at 1336). It does not.

           Plaintiffs define two relevant product markets: the upstream PFOF Market where Citadel

    Securities competes with other market makers (see Am. Compl. ¶ 306), and the downstream No-



                                                      47
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 48 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Fee Brokerage Trading App Market where Robinhood competes with other brokerages (see id.

    ¶ 313). The downstream No-Fee Brokerage Trading App Market is the “consumer-facing relevant

    product market[.]” (Id. ¶ 312 (alteration added). Competitors in the No-Fee Brokerage Trading

    App Market, such as Robinhood Financial, “offer[] brokerage services to Retail Investors.” (Id.

    ¶ 68 (alteration added); see also id. ¶¶ 69, 305, 350–51).

           According to Plaintiffs, Defendants harmed Plaintiffs “[b]y forcing the Retail Investors to

    sell their Relevant Securities at lower prices than they otherwise would have sold[.]” (Id. ¶ 16

    (alterations added)). More specifically, Plaintiffs allege that “Defendants artificially constricted

    the price appreciation of the Relevant Securities and reduced the price of the Relevant Securities

    that Retail Investors either sold or held below the prices that they would have otherwise obtained

    in a competitive market free of collusion.” (Id.; see also id. ¶¶ 407). In other words, Plaintiffs

    allege that Defendants caused antitrust injury by reducing the number of trades in the Relevant

    Securities, thereby distorting the supply and demand for the stocks and leading to their rapid price

    decline. (See id. ¶ 354).

           There is a curious gap between Plaintiffs’ defined markets and the injury alleged, which is

    detrimental to Plaintiffs’ antitrust standing. “Congress did not intend the antitrust laws to provide

    a remedy in damages for all injuries that might conceivably be traced to an antitrust violation.”

    Associated Gen. Contractors v. Cal. State Council of Carpenters, 459 U.S. 519, 534 (1983)

    (quotation marks and citation omitted). Antitrust standing requires that Plaintiffs sustain “antitrust

    injury, which is to say injury of the type the antitrust laws were intended to prevent and that flows

    from that which makes defendants’ acts unlawful.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,

    429 U.S. 477, 489 (1977).

           Antitrust law is supposed to prevent injury to competition. See id. at 488 (citation omitted).



                                                     48
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 49 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Competition is injured if a defendant’s conduct, like entering into a conspiracy to restraint trade,

    generates anticompetitive effects in that relevant market. See Spanish Broad. Sys. of Fla., Inc.,

    376 F.3d at 1071 (citation omitted). This can involve “adverse effects on the price, quality, or

    output of the relevant good or service.” N.Y. Medscan LLC v. N.Y. Univ. Sch. of Med., 430 F.

    Supp. 2d 140, 146 (S.D.N.Y. 2006).

            Importantly, there should be a “direct[]” connection between Plaintiffs’ antitrust injury and

    the “alleged restraint in the relevant market[.]” Balaklaw v. Lovell, 14 F.3d 793, 797 n.9 (2d Cir.

    1994) (alterations added; citation omitted). Put another way, the harm should take place in the

    relevant market the plaintiff has defined. See Am. Express Co., 138 S. Ct. at 2285 (citation

    omitted). Here emerges the critical issue: in which market did Robinhood and Citadel Securities

    effectuate an unlawful restraint, and did Plaintiffs’ injury flow from anticompetitive effects in that

    market?

            This alleged antitrust injury certainly did not stem from any anticompetitive effects in the

    PFOF Market, where Citadel Securities competes to provide market maker services. Plaintiffs do

    not describe any connection between Defendants’ alleged agreement and competition in the PFOF

    market, much less that any anticompetitive effects there caused the prices of the Restricted

    Securities to fall.

            Nor did the alleged restraint impose any anticompetitive effects in the No-Fee Brokerage

    Trading App Market, where Robinhood competes to provide retail brokerage services. Plaintiffs

    cannot plausibly argue a restraint harmed competition there, for the agreement between Robinhood

    and Citadel Securities, as alleged, did not concern price, quality, or output for any other broker-

    dealer’s services. Plaintiffs allege Robinhood curtailed purchases of the Relevant Securities on its

    own platform to appease Citadel Securities. That harmed Robinhood users.



                                                     49
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 50 of 53

                                                           CASE NO. 21-2989-MDL-ALTONAGA/Torres


            But to trigger the antitrust laws, a restraint must harm competition. See Brown Shoe Co. v.

    United States, 370 U.S. 294, 320 (1962). Defendants’ alleged agreement left Ally, Dough,

    Public.com, SoFi, Stash, Tastyworks, Webull, E*Trade, Interactive Brokers, and any other

    brokerage free to adopt or eschew any policy they desired with respect to the Restricted Securities

    — or anything else, for that matter. Further, it imposed no further restrictions on Retail Investors’

    ability to trade with any of Robinhood’s competitors. (See, e.g., Am. Compl. ¶ 30). Plaintiffs thus

    may not hedge their antitrust claim on anticompetitive effects in the No-Fee Brokerage Trading

    App Market.

            The alleged anticompetitive injury occurred in entirely separate markets: the markets for

    the Relevant Securities. The products in question are the Relevant Securities, the prices of which

    were negatively affected by the trading restrictions. Plaintiffs, however, do not center their market

    definition around the sales of the Relevant Securities. This is not surprising, as there is an

    extensive body of persuasive case law holding “that transactions in a particular stock do not fall

    within [section] 1” of the Sherman Act. Kalmanovitz v. G. Heileman Brewing Co., Inc., 769 F.2d

    152, 156 (3rd Cir. 1985) (alteration added; citing Bucher v. Shumway, 452 F. Supp. 1288 (S.D.N.Y.

    1978), aff’d, 622 F.2d 572 (2d Cir. 1980), cert. denied, 449 U.S. 841 (1980); Schaefer v. First

    Nat’l Bank, 326 F. Supp. 1186 (N.D. Ill. 1970), appeal dismissed, 465 F.2d 234 (7th Cir. 1972)).22


    22
       The Supreme Court has stated that “the Sherman Act applies only to a ‘restraint upon commercial
    competition in the marketing of goods or services.’” Kalmanovitz, 769 F.2d at 156 (quoting Apex Hosiery
    Co. v. Leader, 310 U.S. 469, 495 (1940)). And lower courts have “observed that the purchase or sale of
    stock by investors does not fit easily within the definition of goods or services as used by the antitrust laws.”
    Id. (footnote call number omitted; citing Bucher, 452 F. Supp. 1288). The court in Kalmanovitz held the
    sale of stock of a single company within the context of a takeover battle did not fall within the definition of
    section 1 of the Sherman Act. See id. In its reasoning, the Kalmanovitz court relied on two other lower
    court opinions: in Bucher, the court held an agreement to effectuate a tender offer was not an unreasonable
    restraint of trade even though it fixed the price of the company’s shares to the shareholders’ detriment, 452
    F. Supp. at 1289; and in Schaefer, the court concluded the common law interpretation of “restraint of trade”
    never encompassed stock market manipulation and accordingly dismissed the plaintiffs’ Sherman Act suit,
    326 F. Supp. at 1191–92. See Kalmanovitz, 769 F.2d at 156. While the Kalmanovitz court noted “a number
    of cases in which the antitrust laws have been applied to the securities industry[,]” id. at 157 (alteration
                                                           50
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 51 of 53

                                                      CASE NO. 21-2989-MDL-ALTONAGA/Torres


    Plaintiffs continue to reject a market definition based on the Relevant Securities in their Response

    but do so in vain. (See Resp. 38).

           That Plaintiffs do not define the relevant market is fatal to their rule of reason analysis.

    “Regardless of whether the plaintiff alleges actual or potential harm to competition . . . , he must

    identify the relevant market in which the harm occurs.” Jacobs, 626 F.3d at 1336 (alteration added;

    citing F.T.C. v. Ind. Fed’n of Dentists, 476 U.S. 447, 460–61 (1986)). This remains true even

    where, unlike here, a plaintiff “rel[ies] exclusively on direct evidence” of “anticompetitive

    effects[.]” Am. Express Co., 138 S. Ct. at 2284–85 (alterations added; footnote call number

    omitted). Unfortunately, the Amended Complaint’s failure to plausibly do so leaves Plaintiffs with

    little more than a garbled market theory that ignores a crucial fact: the alleged harm to competition

    occurred in an entirely separate market from the markets Plaintiffs define. And Plaintiffs do not

    even attempt to define that third, relevant market. That fatal flaw renders Plaintiffs’ theory of

    harm unworkable.

           Accordingly, the Amended Complaint is due to be dismissed.

                                         V.      CONCLUSION

           The Amended Complaint fails for two reasons. One, Plaintiffs fail to plausibly allege the

    existence of an agreement to restrict trade between Defendants. Sure, Citadel Securities would

    have economically benefited given its short positions. But Robinhood’s supposed incentive

    depends on the assumptions that it was motivated by its forthcoming IPO, that Citadel Securities

    threatened to cut off its relationship with Robinhood in exchange for the trading restrictions, and

    that Robinhood was unwilling to find another market maker. Plaintiffs do not plausibly allege that

    Robinhood had such a motivation here, and even if they had done so, economic incentive is not in


    added; collecting cases), Kalmanovitz, Bucher, and Schaefer caution against the creation of a market
    defined by the sale of certain stocks to investors.
                                                     51
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 52 of 53

                                                           CASE NO. 21-2989-MDL-ALTONAGA/Torres


    itself enough for the Court to infer that Defendants actually had an unlawful agreement to restrain

    trade.

             The only additional evidence plausibly alleged by Plaintiffs consists of vague and

    ambiguous emails between two entities in an otherwise lawful business relationship that, while

    suspicious given their timing, do little to bolster the strength of Plaintiffs’ allegations. And

    juxtaposed with the compelling alternative explanation for the trading restrictions — the increased

    collateral   requirements     imposed       by   the        NSCC   in   response   to   historic   market

    volatility — Plaintiffs’ theory is speculative and implausible.

             Two, even if Plaintiffs did plausibly allege an agreement, they fail to plausibly allege an

    unreasonable restraint of trade. Plaintiffs allege a vertical restraint of trade, which must be

    evaluated under a rule of reason analysis and thus requires an accurate market

    definition — something they do not provide. Indeed, Plaintiffs ignore the reality of their suit: they

    allege that Defendants caused harm to the market for Relevant Securities, but they neglect to define

    that market. And because they do not define the market for Relevant Securities, their claim fails.

             Defendants request that the Court dismiss the Amended Complaint with prejudice. (See

    Mot. 42–43). As the Court stated in the November 17 Order dismissing the CCAC, the Amended

    Complaint would be Plaintiffs’ final opportunity. (See Nov. 17, 2021 Order 50). Plaintiffs do not

    insist otherwise, and the Court sees no reason to give Plaintiffs a fourth attempt to plead.

             For the foregoing reasons, it is

             ORDERED AND ADJUDGED that Defendants’ Motion to Dismiss the Amended

    Antitrust Tranche Complaint [ECF No. 456] is GRANTED. The Amended Consolidated Class

    Action Complaint [ECF No. 451] is DISMISSED.




                                                           52
Case 1:21-md-02989-CMA Document 470 Entered on FLSD Docket 05/13/2022 Page 53 of 53

                                                 CASE NO. 21-2989-MDL-ALTONAGA/Torres


          DONE AND ORDERED in Miami, Florida, this 12th day of May, 2022.



                                                 ________________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE

    cc:   counsel of record; Pro Se Plaintiffs




                                                 53
